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                        Exhibit 5
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    1           IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
    2                  CAMDEN VICINAGE
    3
        *****************************
    4
        IN RE: VALSARTAN, LOSARTAN,              MDL No. 2875
    5   AND IRBESARTAN PRODUCTS
        LIABILITY LITIGATION                     Civil No.
    6                                            19-2875
        ****************************             (RBK/JS)
    7
        THIS DOCUMENT APPLIES TO ALL HON ROBERT B.
    8   CASES                         KUGLER
    9   *****************************
   10              - CONFIDENTIAL INFORMATION -
                   SUBJECT TO PROTECTIVE ORDER
   11
   12
   13              Continued Remote Videotaped via
   14   Zoom Deposition of MIN LI, Ph.D., commencing at
   15   7:05 a.m. China Standard Time, on the 21st of
   16   April, 2021, before Maureen O'Connor Pollard,
   17   Registered Diplomate Reporter, Realtime
   18   Systems Administrator, Certified Shorthand
   19   Reporter.
   20
   21                              – – –
   22
                   GOLKOW LITIGATION SERVICES
   23           877.370.3377 ph | 917.591.5672 fax
                         deps@golkow.com
   24



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   1 APPEARANCES: ALL PARTIES APPEARED REMOTELY           1 APPEARANCES (Continued):
   2                                                      2
       MAZIE SLATER KATZ & FREEMAN, LLC                     DUANE MORRIS, LLP
   3 BY: ADAM SLATER, ESQ.                                3 BY:
       BY: CHERYLL A. CALDERON, ESQ.
                                                                 FREDERICK R. BALL, ESQ.
   4   BY: CHRISTOPHER GEDDIS, ESQ.
                                                              100 High Street
                                                          4   Boston, Massachusetts 02110
         103 Eisenhower Parkway
   5     Roseland, New Jersey 07068                           857-488-4229
                                                          5   frball@duanemorris.com
         973-228-9898
   6     aslater@mazieslater.com                              Representing the Defendants Zhejiang
                                                          6   Huahai Pharmaceutical Co., Ltd.,
         ccalderon@mazieslater.com
   7     cgeddis@mazieslater.com                              Prinston Pharmaceutical Inc., Huahai
                                                          7   U.S., Inc., and Solco Healthcare US,
         Representing the Plaintiffs
   8                                                          LLC
   9 HOLLIS LAW FIRM                                      8
     BY: IRIS SIMPSON, ESQ.                               9 CIPRIANI & WERNER, P.C.
  10 BY: C. BRETT VAUGHN, ESQ.                              BY: JULIA H. FERTEL, ESQ.
       8101 College Boulevard, Suite 260                 10   450 Sentry Parkway
  11   Overland Park, Kansas 66210                            Blue Bell, Pennsylvania 19422
       800-701-3672                                      11   610-567-0700
  12   iris@hollislawfirm.com                                 jfertel@c-wlaw.com
       Representing the Plaintiffs                       12   Representing the Defendant Aurobindo
  13                                                          Pharmaceuticals
  14 MORGAN & MORGAN                                     13
       BY: STEPHANIE JACKSON, ESQ.                       14 PIETRAGALLO GORDON ALFANO BOSICK &
  15 BY: HANNAH FUJIMAKI, ESQ.
         20 North Orange Avenue, Suite 1600
                                                            RASPANTI, LLP
                                                         15 BY: FRANK STOY, ESQ.
  16     Orlando, Florida 32801
         sjackson@forthepeople.com                            One Oxford Centre
                                                         16   Pittsburgh, Pennsylvania 15219
  17     hfujimaki@forthepeople.com
         Representing the Plaintiffs                          412-263-1840
                                                         17   fhs@pietragallo.com
  18
  19 FLEMING NOLAN JEZ, LLP                                   Representing the Defendant Mylan
                                                         18   Pharmaceuticals, Inc.
     BY: DAVID HOBBS, ESQ.
                                                         19
  20   2800 Post Oak Boulevard
       Houston, Texas 77056                              20 Also Present:   Phil Hughes
  21   713-621-7944                                      21
       david_hobbs@fleming-law.com                            Videographer: Judy Diaz
  22   Representing the Plaintiffs                       22
  23                                                     23
  24                                                     24

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   1
   2
     APPEARANCES (Continued):                             1
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                                                              MIN LI, Ph.D.
   4
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                                                              BY MR. SLATER                      296
       4 Embarcadero Center, Suite 3000                   5
   5
       San Francisco, California 94111                    6
       415-655-1285                                       7
                                                               EXHIBITS
       wittlakek@gtlaw.com                                8
   6
       Representing the Defendants Teva                   9
                                                            NO.      DESCRIPTION             PAGE
   7
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  11
       Philadelphia, Pennsylvania 19103                           N,N-Dimethylformamide: much
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  12
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  16
     BY: PATRICK C. GALLAGHER, ESQ.                      18
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  18
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  19
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  20
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   6
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  12
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  16
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  18
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  19
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  21
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           Impurities ini                           4      the record.
   4
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           Potential Carcinogenic                   5           My name is Judy Diaz. I am the
   5
           Risk, M7.....................  379       6      legal videographer for Golkow
   6
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  12
           effects of amines and                   14           This is the continuation of the
           derivatives associated with
  13
           CO2 capture: Nitrosamines               15      deponent Min Li, Ph.D.
  14
           and nitramines...............    496    16           All parties to this deposition
     ZHP-306-t English translation of
  15
           ZHP-306...................... 346       17      are appearing remotely and have agreed
                                                   18      to the witness being sworn in
  16
     ZHP-307-t  English      translation   of
  17
           ZHP-307...................... 349       19      remotely.
                                                     20         All counsel will be noted on
  18
  19                                                 21    the stenographic record.
  20
                                                     22         And the court reporter is
  21
  22                                                 23    Maureen Pollard.
  23
                                                     24         ///
  24




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   1                                                  1           And my question first is, NDMA
               MIN LI, Ph.D.,
   2                                                  2  and NDEA were drug-related impurities with
     having been previously duly remotely sworn,
   3                                                   3 regard to valsartan, correct?
     was examined and testified further as
   4                                                   4     A. Yes.
     follows:
   5                                                   5     Q. And -- rephrase.
            FURTHER EXAMINATION
   6                                                   6          Neither NDMA or NDEA provided
     BY MR. SLATER:
   7                                                   7 any therapeutic benefits to patients who took
         Q. Good evening, or good morning.
   8                                                   8 valsartan, correct?
         A. Good evening.
   9                                                   9     A. I'm sorry, say that again?
         Q. Dr. Li, did you review any
  10                                                  10     Q. Sure.
     documents since last night's deposition?
  11                                                  11          There was no therapeutic
         A. No.
  12                                                  12 benefits, there was nothing positive for the
              MR. SLATER: Cheryll, let's put
  13                                                  13 patient about having NDMA and NDEA in the
         up Exhibit 208, please.
  14                                                  14 valsartan they were taking, correct?
              MR. BALL: I think it would be
  15                                                  15          MR. BALL: Objection. Calls
         308.
  16                                                  16     for expert testimony.
              MR. SLATER: It's an old
  17                                                  17     A. That I don't know. I mean,
         exhibit.
  18                                                  18 that up to toxicologists, you know, medical
              MR. BALL: Sorry. Sorry.
  19                                                  19 doctor. I mean, at this point it's probably
              MR. SLATER: That's okay. It's
  20                                                  20 known, but...
         probably the first time I was right
  21                                                  21 BY MR. SLATER:
         about any exhibit number.
  22                                                  22     Q. Are you saying you think there
     BY MR. SLATER:
  23                                                  23 may have been some benefit to patients?
         Q. On the screen is Exhibit 208,
  24                                                  24     A. I don't know. I mean, as I
     which is titled "Guidance for Industry,
                                           Page 297                                             Page 299
   1 Genotoxic and Carcinogenic Impurities in Drug    1
                                                      said, it's best to be answered by
   2 Substances and Products: Recommended           2 toxicologists.
   3 Approaches," and it's dated December 2008.     3     Q. Well, one of the topics here is
   4          Do you see the document in            4 "ZHP's evaluation and knowledge of the health
   5 front of you?                                  5 risks of the nitrosamines, including NDMA and
   6     A. Yes.                                    6 NDEA, including but not limited to as a
   7     Q. And that's a document you're            7 contaminant of ZHP's valsartan API and ZHP's
   8 familiar with, correct?                        8 valsartan finished dose."
   9     A. I, you know, read it before.            9           You do understand that's one of
  10          MR. SLATER: Cheryll, let's           10 the topics, correct?
  11     turn, if we could, to page 7, please.     11     A. Mm-hmm.
  12     Great.                                    12     Q. In that context, I'm asking
  13     Q. Looking under heading IV,              13 you, are you saying there was some health
  14 Section A is titled "Prevention of Genotoxic  14 benefit to having NDMA and NDEA in --
  15 and Carcinogenic Impurity Formation."         15     A. No, I'm not saying that.
  16          And it says, "Since                  16     Q. -- the valsartan?
  17 drug-related impurities presumably provide    17     A. I'm not saying that. As I
  18 limited, if any, therapeutic benefits and     18 said, you know, based upon up-to-date
  19 because of their potential to cause cancer in 19 knowledge, it probably does not have, okay.
  20 humans, every feasible technical effort       20 But the ultimate answer is best to be
  21 should be made to prevent the formation of    21 answered by, you know, toxicologists.
  22 genotoxic or carcinogenic compounds during    22     Q. As you sit here now, there's no
  23 drug substance synthesis or drug product      23 benefit at all that you can point to of NDMA
  24 manufacturing."                               24 or NDEA being in ZHP's valsartan, right?




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   1       A. As I already said, you know, up         1
                                                         pills, correct?
   2 to this point, it does not have any              2
                                                             A. Again --
   3 information to show that, as far as I know.       3
                                                                  MR. BALL: Objection. Calls
   4       Q. You have no information --               4
                                                             for expert testimony. Go ahead -- and
   5       A. I'm not the best person, you             5
                                                             compound.
   6 know, you know, to provide a professional         6
                                                                  Go ahead, Dr. Li.
   7 answer to that.                                   7
                                                             A. If you look at some of the
   8       Q. Well, you're the only person             8
                                                         FDA's, you know, issue statement, so their
   9 allowed to talk tonight about this, so            9
                                                         assessment at this point is that overall, you
  10 I'll -- I just want to confirm.                  10
                                                         know, the overall risk remains to be very
  11            There's no benefit whatsoever         11
                                                         small. So that's all that I can understand.
  12 that you can think of now to having NDMA or      12
                                                                  You know, in terms how much,
  13 NDEA in ZHP's valsartan, correct?                13
                                                         you know, probability, as I said, again, it's
  14            MR. BALL: Objection. Calls            14
                                                         not really for me, you know, to speculate.
  15       for expert testimony.                      15
                                                         BY MR. SLATER:
  16            And I also think it's outside         16
                                                             Q. With regard to the NDMA,
  17       the scope. It's the health risks of        17
                                                         without us trying to quantify how much risk
  18       the nitrosamines, not any benefits of      18
                                                         there was, you would agree with me that the
  19       the nitrosamines, Adam.                    19
                                                         NDMA in the valsartan increased the risk to
  20       A. I would agree with Rick. I              20
                                                         some level for the people who took those
  21 mean, what we talk about here is really its      21
                                                         pills to develop cancer?
  22 potential risk.                                  22
                                                                  MR. BALL: Objection. Calls
  23 BY MR. SLATER:                                   23
                                                             for expert testimony.
  24       Q. I'll ask it differently then.           24
                                                             A. You know, basically, I think
                                           Page 301                                            Page 303
   1          The presence of NDMA and NDEA           1
                                                         that's the same question that you already
   2 in ZHP's valsartan created a risk; it created    2
                                                         asked, you know, quite a few times.
   3 no benefit, correct?                              3
                                                         BY MR. SLATER:
   4          MR. BALL: Objection.                     4
                                                              Q. Is the answer yes, that to some
   5     Compound.                                     5
                                                         extent there's an increased risk of cancer?
   6     A. It's a potential risk.                     6
                                                              A. As I told you, I'm not the best
   7 BY MR. SLATER:                                    7
                                                         person to give an answer on that.
   8     Q. Certainly having NDMA or NDEA              8
                                                              Q. Well, that is one of the topics
   9 in ZHP's valsartan increased the risk for a       9
                                                         that you were designated to testify on.
  10 person taking those pills to develop cancer.     10
                                                                  And with due respect to my
  11 That's why it's called a probable carcinogen,    11
                                                         esteemed colleague Mr. Ball, I don't think
  12 correct?                                         12
                                                         it's expert testimony, because it's a
  13          MR. BALL: Objection. Calls              13
                                                         Court-ordered designation topic for a
  14     for expert testimony, compound.              14
                                                         corporate representative to answer questions
  15     A. Again, I'm not the best person,           15
                                                         on this. So that's why I'm trying to ask the
  16 you know, to ask this question. A                16
                                                         question.
  17 toxicologist would be much more appropriate.     17
                                                                  MR. BALL: Hold on for a
  18 BY MR. SLATER:                                   18
                                                              second.
  19     Q. Based on your preparation for             19
                                                                  We can stay on the record and
  20 the deposition, your review of all the           20
                                                              discuss this, or we can go off the
  21 materials you reviewed, you would agree with     21
                                                              record and discuss it. Which would
  22 me that the presence of the NDMA and NDEA in     22
                                                              you prefer to do?
  23 the valsartan created some level of increased    23
                                                                  MR. SLATER: I don't need to
  24 risk for cancer for people who took those        24
                                                              discuss it. I just wanted to -- I'm


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   1                                                 1
         happy to --                                    96 nanogram per day.
   2                                                 2
              MR. BALL: Then I'm going to                   Q. The NDMA levels in ZHP's
   3                                                  3
         continue my objections, and he can             valsartan were higher in every single batch
   4                                                  4
         answer to the degree he can.                   that was tested than 96 nanograms, correct?
   5                                                  5
              MR. SLATER: Well, I will --                        MR. BALL: Objection.
   6                                                  6
              MR. BALL: You can ask him if                  Foundation.
   7                                                  7
         there were evaluation and knowledge                A. As I indicated, you know, this
   8                                                  8
         related to --                                  is not correct because you really have to
   9                                                  9
              MR. SLATER: I'm not going to              differentiate, you know, the valsartan
  10                                                 10
         have --                                        product from which processes. Okay. From
  11                                                 11
              MR. BALL: You mean -- I                   the TEA processes, as far as I know, the vast
  12                                                 12
         offered to go off the record, Adam.            majority of them, you know, the tested were
  13                                                 13
              MR. SLATER: You don't know                below the 96 nanogram per day.
  14                                                 14
         what I'm going to say.                         BY MR. SLATER:
  15                                                 15
              MR. BALL: You said you didn't                 Q. Let's talk about the zinc
  16                                                 16
         want to.                                       chloride process for a moment. Every single
  17                                                 17
              MR. SLATER: Rick, relax, you              batch manufactured with the zinc chloride
  18                                                 18
         don't know what I'm going to say.              process exceeded the FDA limit of
  19                                                 19
              I'm going to give you a                   96 nanograms, correct?
  20                                                 20
         standing objection to every time I ask                  MR. BALL: Objection.
  21                                                 21
         a question under this topic that                   Foundation.
  22                                                 22
         you're going to say calls for expert               A. Yeah, based upon, yeah, the
  23                                                 23
         testimony, I have my position, but             results, yeah, that we tested, yes.
  24                                                 24
         that way we don't have to argue about                   ///
                                          Page 305                                            Page 307
   1                                                 1
        it.                                          BY MR. SLATER:
   2                                                 2
              MR. BALL: I'm not every time               Q. And for every single one of
   3                                               3
         you ask a question on this topic. I'm       those valsartan pills that was made with that
   4                                               4
         going to ask the ones that actually         API with the zinc chloride process, there was
   5                                               5
         call for expert testimony as opposed        a health risk for those patients that used
   6                                               6
         to ZHP's evaluation and knowledge of        those pills, correct?
   7                                               7
         the health risks of nitrosamines.                    MR. BALL: Objection.
   8                                               8
              If you want to ask questions               Foundation. Asks for -- calls for
   9                                               9
         about that as opposed to trying to put          expert testimony.
  10                                              10
         words in his mouth, that's fine, but            A. Well, I think the correct
  11                                              11
         that's not what you're doing.               answer or the statement or description would
  12                                              12
     BY MR. SLATER:                                  be potential risk.
  13                                              13
         Q. The presence of the NDMA in the          BY MR. SLATER:
  14                                              14
     valsartan created a health risk, correct?           Q. The -- you used the word last
  15                                              15
         A. I think yesterday, you know, I           night "consensus." The scientific consensus,
  16                                              16
     already answered this question, you know,       the majority of scientists who know -- who
  17                                              17
     because according to today's knowledge or       are looking at this issue would agree that
  18                                              18
     whatever the information given by, for          there was an increased risk for those
  19                                              19
     example, like FDA's, right, it's not any        patients who used the zinc chloride valsartan
  20                                              20
     level, you know, of the presence will give      manufactured by ZHP, they -- rephrase. Let
  21                                              21
     the potential risk. It -- there is a            me ask it again.
  22                                              22
     threshold as of today, okay.                             The consensus is that using the
  23                                              23
              As I said yesterday, you know,         valsartan that was manufactured with the zinc
  24                                              24
     the daily allowable intake defined by FDA is    chloride process increased those patients'


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   1                                                  1
     risk to develop cancer. We don't have to            risk.
   2                                                  2
     argue about how much of an increase it is,          BY MR. SLATER:
   3                                                   3
     but you'd agree there was some increase as a            Q. It's a potential risk that no
   4                                                   4
     result of taking those pills, correct?              patient would knowingly ever accept if they
   5                                                   5
              MR. BALL: Objection.                       had a choice of any other pill to control
   6                                                   6
          Speculative, vague, and calls for              their blood pressure, you would agree with
   7                                                   7
          expert testimony.                              that, right?
   8                                                   8
          A. Again, the risk is potential                         MR. BALL: Objection.
   9                                                   9
     risk.                                                   Speculative.
  10                                                  10
              MR. SLATER: Please go,                         A. Whatever medicine a patient
  11                                                  11
          Cheryll, to page 8, if you could. The          need to take, they need to ask or consult
  12                                                  12
          top of the page. Perfect.                      with their doctors.
  13                                                  13
     BY MR. SLATER:                                      BY MR. SLATER:
  14                                                  14
          Q. At the top of page 8 there's                    Q. Well, ZHP understands that the
  15                                                  15
     discussion about the threshold approach, and        reason that the worldwide regulatory
  16                                                  16
     it says in the last sentence, "However, there       authorities required ZHP to stop selling its
  17                                                  17
     are some compounds containing certain               valsartan was because the risk to patients of
  18                                                  18
     structural groups (aflatoxin-like,                  developing cancer due to the nitrosamine
  19                                                  19
     N-nitroso-, and azoxy-structures) that have         contamination was considered to be too great.
  20                                                  20
     extremely high carcinogenic potency and are         You understand that, right?
  21                                                  21
     excluded from the threshold approach."                       MR. BALL: Objection.
  22                                                  22
              You understand that, correct?                  Speculative.
  23                                                  23
          A. Yes.                                            A. I think yesterday, yes, sir, I
  24                                                  24
          Q. And N-nitroso compounds                     indicated we voluntarily pull recall. Okay.
                                           Page 309                                            Page 311
   1                                                  1
                                                      And also as I mentioned yesterday, you know,
     includes NDMA and NDEA, correct?
   2                                                2 once we have complete our very intense, you
         A. Yes.
   3                                                3 know, investigation, like it was in like two,
         Q. And the reason that they're
   4                                                4 three weeks, you know, once we have, you
     excluded from the threshold approach is
   5
     because they're considered to be so dangerous 5 know, a -- you know, good numbers of, you
   6                                                6 know, of the value of the NDMA, we
     that they have to be evaluated on an
   7                                                7 immediately contact FDA as well as, you know,
     item-by-item basis, correct?
   8                                                8 other regulatory agencies. Okay. We ask FDA
              MR. BALL: Objection. Calls
   9                                                9 for, you know, guidance, right. We ask them
         for expert testimony, vague.
  10                                               10 whether we should immediately do the recall.
         A. I need to point out that here,
  11
     you know, the wording here, high carcinogen, 11           And as I mentioned yesterday,
  12                                               12 the answer, or at least the initial answer
     carcinogenic, you know, potency is really
  13                                               13 from the FDA, they ask us to hold on upon
     referring to animal studies.
  14                                               14 further notifications. Okay, so this is
     BY MR. SLATER:
  15                                               15 exactly what happened.
         Q. Whatever studies it may be
  16                                               16 BY MR. SLATER:
     based on, the consensus is that NDMA, for
  17                                               17     Q. Let's go through a few of the
     example, has extremely high carcinogenic
  18
     potency and increases the risk of the patient 18 things you just said.
  19                                               19          Number one, you're saying ZHP
     using a pill contaminated with NDMA of
  20                                               20 made the decision to voluntarily recall the
     developing cancer, correct?
  21                                               21 valsartan contaminated with nitrosamines.
              MR. BALL: Objection. Vague,
  22                                               22 Did I understand you correctly?
         calls for speculation, expert
  23                                               23     A. As I said, we contacted -- once
         testimony.
  24                                               24 we, you know, have the results or the initial
         A. Again, this is a potential


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   1                                                  1
     results, we contacted FDA, okay, asking          as I said, as a company as a whole, you know,
   2                                                2
     whether we just should go ahead with the         we didn't know that.
   3                                                3
     recall.                                               Q. People within your company knew
   4                                                4
         Q. You understood that a recall              this, correct?
   5                                                5
     was likely the appropriate next step after                 MR. BALL: Objection. Vague,
   6                                                6
     you confirmed the nitrosamine contamination           speculative.
   7                                                7
     of your valsartan, and that's why you asked      BY MR. SLATER:
   8
     that question of the FDA, is that what you're 8       Q. All right. I'll ask the
   9                                                9
     saying?                                          question again. Stop for a second, Dr. Li,
  10                                               10
              MR. BALL: Objection. Outside            I'll ask the question again.
  11                                               11
         the scope.                                             As of July 27, 2017, there were
  12                                               12
              Go ahead and answer, Dr. Li.            people in your company who were on notice,
  13                                               13
         A. Because there was a potential             including you, that the valsartan
  14
     risk, right, so as a responsible company, you 14 manufactured with the zinc chloride process
  15                                               15
     know, once you confirm the initial results,      was contaminated with NDMA, correct?
  16
     you know, have reliable results, you know, to 16      A. No, that's not true. As I
  17                                               17
     your best knowledge, you know, this is a         indicated yesterday, you know, based upon,
  18                                               18
     response the company should do, so that's        you know, the content, you know, of that
  19                                               19
     what ZHP did.                                    particular exhibit, you know, it looks like
  20                                               20
     BY MR. SLATER:                                   he was making his speculations.
  21                                               21
         Q. As soon as ZHP knew that its                   Q. Whatever you want to call it,
  22
     valsartan was contaminated with NDMA, the 22 speculations, he was correct and that was
  23                                               23
     responsible thing to do, as you just said,       confirmed for the worldwide regulatory
  24                                               24
     was to contact the FDA and take steps to         authorities, including the FDA, right, that
                                           Page 313                                            Page 315
   1 recall the pills, correct?                       1  NDMA was in the valsartan that your company
   2           MR. BALL: Objection.                   2  was selling, right?
   3      Compound, and mischaracterizes his           3           MR. BALL: Objection. Vague
   4      testimony.                                   4      and compound.
   5      A. Yeah, that's basically what I             5      A. That was after, you know, the
   6 said. Yeah.                                       6 company become aware, after, you know, the
   7 BY MR. SLATER:                                    7 June 6, 2018.
   8      Q. ZHP did not do that as of July            8 BY MR. SLATER:
   9 2017, correct?                                    9      Q. Well, it was after ZHP realized
  10      A. That I need to go to, I think,           10 that if it didn't tell the FDA about the
  11 one of the documents. We have the timetable      11 contamination with NDMA, that Novartis was
  12 of, you know, chronology of all the events.      12 probably going to do so, so ZHP had no choice
  13 I don't remember all the details.                13 at that point, right?
  14           But basically the thing is, as         14           MR. BALL: Objection.
  15 I said, once we complete our initial             15      Speculative and compound.
  16 investigations, okay, and we just, you know,     16      A. That's your speculation.
  17 quickly contact FDA. And I think between the     17 That's not, you know, what I felt.
  18 initial contact and the FDA's next, you know,    18 BY MR. SLATER:
  19 actions, there -- the time was at least about    19      Q. Let's go back to my original
  20 a week or maybe even longer, okay.               20 question.
  21      Q. I think maybe you misheard my            21           In July of 2017, ZHP did not
  22 question. I'll ask it again.                     22 notify the FDA that there was NDMA in the
  23           As of July 27, 2017 --                 23 zinc chloride process manufactured valsartan,
  24      A. Oh, I'm sorry. 2000 -- well,             24 correct?




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   1                                                  1
           A. As I told you, you know, the            it, correct?
   2                                                2
      company did not know at the time.                         MR. BALL: Objection.
    3                                               3
           Q. I'm not -- well, my question is              Compound.
    4
      whether or not the company notified the FDA 4        A. I'm sorry. Say that again,
    5                                               5
      at that time.                                   please?
    6                                               6
                MR. BALL: Dr. Li, that's a            BY MR. SLATER:
    7                                               7
           yes-or-no question. To the degree you           Q. Sure.
    8                                               8
           can answer yes or no, please answer                  Shortly after ZHP notified the
    9                                               9
           yes or no.                                 FDA that there was NDMA in the valsartan,
   10                                              10
           A. Well, because the company did           within a short period of time after that, ZHP
   11                                              11
      not know, so the answer is no.                  stopped selling that valsartan and recalled
   12                                              12
      BY MR. SLATER:                                  it in the United States and worldwide,
   13                                              13
           Q. You said earlier that the FDA           correct?
   14                                              14
      told ZHP not to recall the valsartan                      MR. BALL: Objection. Vague,
   15                                              15
      immediately, or something to that effect,            compound.
   16                                              16
      correct?                                             A. I think I would really need to,
   17                                              17
           A. Something like that, yes.               you know, take a look at that particular
   18                                              18
           Q. And that was because the FDA            timetable, you know, describing, you know,
   19                                              19
      first needed to ensure that there was           like which events happened.
   20                                              20
      adequate supply of blood pressure pills                   You know, it might -- we might
   21                                              21
      before these pills would be pulled off the      already, you know, like have stopped the
   22                                              22
      market, because as bad as it was to have an     production, you know, or it may, you know,
   23                                              23
      increased risk of cancer over time, it could    happen almost at the same time.
   24                                              24
      be worse for people to start having strokes               But as I said, we have that
                                           Page 317                                         Page 319
   1  and heart attacks because they don't have the   1document. So I think the best way is just,
   2  blood pressure pills over the next week.       2 you know, you know, you can upload that
    3          You understood that's what the        3 document. I mean, let's take a look, you
    4 FDA was evaluating, right?                     4 know, what exactly, you know, going to happen
    5          MR. BALL: Objection.                  5 every step.
    6     Speculation, calls for expert              6 BY MR. SLATER:
    7     testimony, compound, and I think every     7     Q. The reason that ZHP, as you
    8     other objection to form I could think.     8 said, made the decision to recall and stop
    9     A. Yeah, I don't know exactly what         9 selling its contaminated valsartan was
   10 FDA was thinking at the time.                 10 because ZHP deemed the health risk to
   11 BY MR. SLATER:                                11 patients to be unacceptable, correct?
   12     Q. Well, you're talking about what        12          MR. BALL: Objection. Vague
   13 the FDA -- you affirmatively -- rephrase.     13     and compound.
   14          You're the one who brought up        14     A. Again, I said it's a potential
   15 what the FDA told you or didn't tell you, so  15 risk.
   16 that's why I'm asking what those discussions  16 BY MR. SLATER:
   17 were.                                         17     Q. And it's a potential risk
   18          You apparently know about them,      18 that's unacceptable -- rephrase.
   19 right?                                        19          And it was a potential risk
   20     A. They didn't tell us the reason.        20 that was unacceptable for patients, correct?
   21 They just said hold on.                       21          MR. BALL: Objection. Vague,
   22     Q. Shortly after ZHP notified the         22     and calls for expert testimony.
   23 FDA about the NDMA in ZHP's valsartan, ZHP 23        A. Again, it's a potential risk to
   24 stopped selling the valsartan and recalled    24 patient.




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   1  BY MR. SLATER:                                   1  BY MR. SLATER:
   2      Q. An unacceptable potential risk.           2      Q. On the screen is Exhibit 206,
    3 That's why ZHP stopped selling valsartan and      3 which is the June 28, 2006 European Medicines
    4 recalled it, correct?                             4 Agency Guidelines on the Limits of Genotoxic
    5          MR. BALL: Objection. Vague,              5 Impurities, which was valid from January 1,
    6     mischaracterizes his prior testimony,         6 2007 to January 31, 2018.
    7     and foundation.                               7           Do you see that?
    8     A. So according -- you know,                  8     A. Mm-hmm.
    9 basically once we knew, you know, the             9           MR. SLATER: Cheryll, let's go,
   10 presence of NDMA, and, you know, once we knew    10     if we could, to page 4 of 8 at the
   11 potentially, okay, to the patient, we -- you     11     top, the section titled "Toxicological
   12 know, as I said, after we confirmed the          12     Background," please.
   13 results, okay, you know, we stopped the          13           THE WITNESS: Could you make it
   14 production and distribution, and also            14     a little bigger, please? Yes. Thank
   15 contact, you know, regulatory agencies.          15     you.
   16 BY MR. SLATER:                                   16 BY MR. SLATER:
   17     Q. And that's because ZHP knew               17     Q. Section 4 of this document from
   18 that the potential risk to patients of taking    18 the European Medicines Agency is titled
   19 those pills was an unacceptable health risk,     19 "Toxicological Background," and it states,
   20 correct?                                         20 "According to current regulatory practice it
   21          MR. BALL: Objection. Vague,             21 is assumed that (in vivo) genotoxic compounds
   22     calls for expert testimony, and              22 have the potential to damage DNA at any level
   23     mischaracterizes his earlier                 23 of exposure and that such damage may
   24     testimony.                                   24 lead/contribute to tumour development. Thus

                                            Page 321                                            Page 323
   1      A. Again, you know, as I said, you           1
                                                       for genotoxic carcinogens it is prudent to
   2  know, you know, the best answer would be by a  2
                                                       assume that there is no discernible threshold
    3 toxicologist in terms of what level, you       3
                                                       and that any level of exposure carries a
    4 know, is acceptable, what level is not         4
                                                       risk."
    5 acceptable.                                    5
                                                                Do you see that?
    6 BY MR. SLATER:                                 6
                                                            A. Yes.
    7     Q. I am asking you the questions           7
                                                            Q. NDMA is a genotoxic compound as
    8 because you were designated by ZHP to testify  8
                                                       discussed here, correct?
    9 on this topic, so you're the person I have to  9
                                                            A. Yes.
   10 ask the questions.                            10
                                                            Q. NDEA is a genotoxic compound as
   11          MR. BALL: That's not what            11
                                                       discussed here, correct?
   12     you're asking him, Adam. You're           12
                                                                MR. BALL: Objection. Vague.
   13     asking him things that are outside        13
                                                            A. Yes.
   14     the -- you're asking for expert           14
                                                       BY MR. SLATER:
   15     testimony, you're not asking for          15
                                                            Q. And when they talk about the
   16     factual testimony, and you're putting     16
                                                       potential to damage DNA at any level of
   17     words in his mouth.                       17
                                                       exposure, they're talking about these being
   18          So feel free to ask him              18
                                                       mutagenic genotoxic compounds, correct?
   19     questions which were within the topic.    19
                                                                MR. BALL: Objection.
   20     I'm happy to have you do that.            20
                                                            Speculative and vague, calls for
   21          MR. SLATER: Cheryll, let's go        21
                                                            expert testimony.
   22     now to a new exhibit. Let's go to         22
                                                                Go ahead and answer.
   23     Exhibit 206, please. Thank you.           23
                                                            A. To the animals. These results
   24          ///                                  24
                                                       all derived from animal studies.


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   1  BY MR. SLATER:                                    1      under your understanding, go ahead,
   2      Q. Your understanding is that this            2      Doctor.
    3 standard was written to determine whether or       3     A. Right. Yeah. So based upon
    4 to what extent genotoxic compounds would be        4 what I understand, all of these data are
    5 given to animals?                                  5 results from animal studies, and it was very
    6          MR. BALL: Objection to form.              6 high, you know, doses.
    7          Dr. Li, please let me get my              7 BY MR. SLATER:
    8     objection in.                                  8     Q. Did I ask you what the basis
    9          Mischaracterizes his earlier              9 for this statement was in this EMA guidance
   10     testimony.                                    10 document in terms of what type of studies
   11     A. Well, basically all of those               11 this was based on?
   12 results, okay, based upon, you know, you          12     A. From some of the other
   13 know, documents like this, they all derived       13 documents, I don't, you know, remember, like,
   14 from animal studies at very high dosage.          14 you know, either like M7 or some other --
   15 BY MR. SLATER:                                    15 FDA's document or EMA's document, or if you
   16     Q. Okay. Coming back to the                   16 can go to the literature, you know, all of
   17 question I asked you, when this refers to the     17 those data with nitrosamine, they were
   18 potential to damage DNA at any level of           18 derived from animal studies, as far as I
   19 exposure, that's talking about it being a         19 know.
   20 mutagenic, genotoxic compound, correct?           20     Q. The reference to genotoxic
   21          MR. BALL: Objection.                     21 compounds have the potential to damage DNA at
   22     Speculative.                                  22 any level of exposure is a reference to
   23     A. As I said, that the potential              23 mutagenic/genotoxic compounds. That's what
   24 risk here or understanding of whatever the        24 mutagenic means, right?

                                             Page 325                                            Page 327
   1  description here, it was derived from animal      1
                                                                    MR. BALL: Objection.
   2  studies. And also, I'm not sure, you know,        2
                                                               Compound, calls for expert testimony,
    3 you know, the current, you know, M7, whatever      3
                                                               speculative, and foundation.
    4 the exactly same, you know, opinion, you           4
                                                               A. Again, as I said, you know,
    5 know, you know, on this. I think in M7 it          5
                                                           basically this statement, based upon my
    6 probably has an acceptable levels. So maybe        6
                                                           understanding, okay, this statement was based
    7 that's why the reason, you know, you know,         7
                                                           upon animal studies, okay, with very high
    8 this document become obsolete.                     8
                                                           doses.
    9 BY MR. SLATER:                                     9
                                                                    MR. BALL: Adam, he's clearly
   10     Q. I'll try it again.                         10
                                                               not understanding the question. Maybe
   11          When this refers to geno- --             11
                                                               if you ask it in a different way.
   12 rephrase.                                         12
                                                                    MR. SLATER: This is a Ph.D
   13          When this refers to genotoxic            13
                                                               from Johns Hopkins.
   14 compounds have the potential to damage DNA at     14
                                                                    MR. BALL: Okay. Adam, would
   15 any level of exposure, that's talking about       15
                                                               you like me to ask him a question?
   16 these genotoxic compounds being mutagenic,        16
                                                                    MR. SLATER: No.
   17 that's what that means, correct?                  17
                                                                    MR. BALL: I want to -- okay.
   18     A. What I understand --                       18
                                                               I'm just trying to help you out,
   19          MR. BALL: Objection --                   19
                                                               buddy. I -- you know, I'm saying if
   20          THE WITNESS: Go ahead.                   20
                                                               you're going to say that he's a Ph.D,
   21          MR. BALL: Objection.                     21
                                                               I'm just suggesting he's clearly not
   22     Speculative, calls for expert                 22
                                                               understanding the question, because I
   23     testimony.                                    23
                                                               kind of understand the question, but
   24          To the degree you can answer             24
                                                               he is not.


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   1                                                   1
                MR. SLATER: That's okay. I'll             carcinogenic risk," and then there's
   2                                                   2
           do -- I'm doing the best I can.                citations to two articles, one from 1999 and
    3                                                   3
                MR. BALL: That's okay.                    one from 2004.
    4                                                   4
                MR. SLATER: But I would prefer                     Do you see that?
    5                                                   5
           that you not ask the questions.                    A. Yes.
    6                                                   6
                MR. BALL: That's fine. I                      Q. A significant carcinogenic risk
    7                                                   7
           won't, then.                                   would be a significant risk of developing
    8                                                   8
                MR. SLATER: Thank you.                    cancer. That's what that phrase means,
    9                                                   9
      BY MR. SLATER:                                      correct?
   10                                                  10
           Q. What does the term "mutagenic"                       MR. BALL: Objection.
   11                                                  11
      mean?                                                   Foundation.
   12                                                  12
           A. Mutagenic, which means it cause                 A. It says a high probability.
   13                                                  13
      mutation in genes.                                  And again, although I haven't gone through
   14                                                  14
           Q. Damage to someone's DNA,                    these two papers, but based upon everything,
   15                                                  15
      correct?                                            you know, that I know, these results most
   16                                                  16
                MR. BALL: Objection. Vague.               likely derived from animal studies.
   17                                                  17
           A. As I said here, you know,                   BY MR. SLATER:
   18                                                  18
      referring to this very statement here, okay,            Q. When this phrase -- rephrase.
   19                                                  19
      it's based upon animal study, okay. Animal                   When this refers to a
   20                                                  20
      study at the very high doses, okay, it shows        significant carcinogenic risk, that means by
   21                                                  21
      mutagenic to animals.                               definition a significant risk of developing
   22                                                  22
      BY MR. SLATER:                                      cancer, correct? That's what those words
   23                                                  23
           Q. A mutagenic/genotoxic impurity              mean, right?
   24                                                  24
      by definition is one which can damage DNA,                   MR. BALL: Objection. Vague,
                                            Page 329                                            Page 331
   1  correct?                                         1
                                                               foundation.
   2      A. Yeah, at very high doses.                 2
                                                               A. It says, "a high probability of
    3     Q. This document from the European            3
                                                          a significant carcinogenic risk." It's still
    4 Medicines Agency states in the sentence we        4
                                                          a probability, although it's a high
    5 just went over, "Thus for genotoxic               5
                                                          probability.
    6 carcinogens it is prudent to assume that          6
                                                                    Again, you know, this is from
    7 there is no discernible threshold and that        7
                                                          animal studies.
    8 any level of exposure carries a risk."            8
                                                          BY MR. SLATER:
    9          That's a true statement,                 9
                                                               Q. A significant carcinogenic risk
   10 correct? ZHP agrees with that statement,         10
                                                          is a significant risk of developing cancer,
   11 right?                                           11
                                                          correct?
   12     A. That is a statement in that               12
                                                                    MR. BALL: Objection. Vague,
   13 document, yes, 2008.                             13
                                                               foundation.
   14          MR. SLATER: Let's go to                 14
                                                               A. No matter what, you know, it's
   15     page 6, please, Cheryll. Thank you.          15
                                                          still a probability.
   16     Scroll up a little bit. A little             16
                                                          BY MR. SLATER:
   17     more. Wonderful. Thank you.                  17
                                                               Q. A carcinogenic risk is a risk
   18     Q. Looking at the center of the              18
                                                          of developing cancer, correct?
   19 page, the first full paragraph, this EMA         19
                                                                    MR. BALL: Objection. Vague,
   20 document states, "Some structural groups were    20
                                                               foundation, and calls for expert
   21 identified to be of such high potency that       21
                                                               testimony.
   22 intakes even below the threshold of              22
                                                               A. Well, based upon this wording,
   23 toxicological concern would be associated        23
                                                          right, this specific wording, carcinogenic
   24 with a high probability of a significant         24
                                                          risk, you're right, it is, you know,


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   1  developing the risk for developing cancer.       1
                                                       have been done concluding that it is probable
   2  But as I said here, if you look at the whole   2 that NDMA will cause cancer in humans?
    3 sentence, okay, it says, "a high probability   3      A. I don't know, you know, what --
    4 of a significant carcinogenic risk." So it's   4 which is specific like a paper or study, you
    5 still a risk.                                  5 know, that you are referring to, I mean.
    6           And again, you know, as I said,      6      Q. Are you saying you're not
    7 these study most likely, you know, based upon  7 familiar with anything in the scientific
    8 animal studies.                                8 literature at all that says that it's
    9 BY MR. SLATER:                                 9 probable that NDMA will cause cancer in
   10      Q. Does ZHP think it is a good           10 humans?
   11 idea to sell pills contaminated with a        11          MR. BALL: Objection.
   12 substance that carry with them a high         12      Mischaracterizes his testimony.
   13 probability of a significant carcinogenic     13      A. As I said, that, you know,
   14 risk?                                         14 basically as I said, you know, people making
   15           MR. BALL: Objection.                15 those hypothesis or whatever, based upon
   16      Argumentative, foundation.               16 animal studies, okay.
   17      A. As I told you, you know, as a         17 BY MR. SLATER:
   18 company we didn't know until June 6, 2018.    18      Q. In preparing yourself to talk
   19 So, you know, the company will not knowingly, 19 about ZHP's evaluation and knowledge of the
   20 you know, you know, to distribute the         20 health risks of nitrosamines, including NDMA
   21 product. So that's why, as I say, once we     21 and NDEA, including but not limited to as a
   22 knew, you know, at the company level and once 22 contaminant of ZHP's valsartan API and ZHP's
   23 we determined, you know, the levels, okay, so 23 valsartan finished dose, did you review any
   24 we did everything we can and contact agency   24 studies addressing risk to humans of

                                            Page 333                                         Page 335
   1  and, you know, initiate the recall, you know,    1
                                                       developing cancer due to exposure to NDMA?
   2  everything.                                    2      A. Yes, I did review some papers,
    3           MR. SLATER: Cheryll, you             3 okay. There is one particular, you know,
    4     switched the page for some reason.         4 paper, you know, they came out after
    5           Can you scroll up a little bit       5 ranitidine, you know, NDMA issue was, you
    6     again just to get that paragraph a         6 know, was discovered, okay.
    7     little higher up on the page? Thank        7          That paper from my own
    8     you. That's good.                          8 perspective, right, from a scientific design,
    9 BY MR. SLATER:                                 9 I think, you know, this is a very good study,
   10     Q. It was not acceptable to sell          10 okay? This study was published by a group of
   11 valsartan with NDMA contamination because of  11 Korean, you know, medical doctors. Okay.
   12 the high probability of a significant         12          In this particular, you know,
   13 carcinogenic risk, correct?                   13 retrospective review, right, they compared
   14           MR. BALL: Objection.                14 40,000 patients, or maybe 40-plus thousand,
   15     Mischaracterizes his earlier              15 okay, patients taking ranitidine, okay.
   16     testimony, calls for expert testimony.    16          Ranitidine by now, you know,
   17     A. You know, as I told you, you           17 people know it will -- you know, ranitidine
   18 know, once, you know, once we knew, you know, 18 will decompose, and also -- it will also, you
   19 in June 2018 and once we determined, you      19 know, you know, metabolize within human body,
   20 know, the levels, we immediately, you know,   20 okay, to very high level of NDMA.
   21 contacted regulatory agencies and take        21          I think yesterday I may have
   22 actions.                                      22 mentioned, I think, an average level, you
   23 BY MR. SLATER:                                23 know, you know, with a single person taking
   24     Q. Are you aware of studies that          24 150 milligram of ranitidine, was 47 microgram




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   1                                                   1  through them, you know.
      per day, okay?
   2                                                   2            But as I said, you know, over
                And they compared, you know,
    3                                                   3 the course, you know, since June 2018, it
      this group of patient with another group of
    4                                                   4 seems to me, you know, the vast majority of
      patient, 10,000-plus patient, taking
    5                                                   5 the studies were based upon the animals.
      another -- you know, same class, like an
    6                                                   6      Q. Does ZHP have a collection of
      antacid, you know, drug which is called
    7                                                   7 literature regarding the risk to humans of
      famotidine, okay.
    8                                                   8 nitrosamine ingestion?
                Famotidine, it is known by now
    9                                                   9      A. I don't know that there is like
      it will not, you know, decompose to give
   10                                                  10 a -- like a complete, like a compilation,
      NDMA, or it will not, you know, be
   11                                                  11 but -- you know, but for myself during the
      metabolized to give NDMA, right?
   12                                                  12 course of this preparation, I downloaded some
                So they compared these two
   13                                                  13 papers.
      group of people retrospectively. And the
   14                                                  14      Q. You've told us about a study
      conclusion from this, you know, very well,
   15                                                  15 out of Korea. Is there any other study known
      you know, controlled study, they -- I think
   16                                                  16 to you or ZHP as you sit here now addressing
      the conclusion says there is no -- basically
   17                                                  17 the risk to humans due to ingestion of
      there's no difference in terms of the cancer
   18                                                  18 nitrosamines?
      risk between the two groups.
   19                                                  19      A. There may be some others, but
          Q. Is that the only study you're
   20                                                  20 as I said, you know, I haven't had a time,
      aware of that's addressed this issue?
   21                                                  21 you know, you know, to go through them. So I
          A. That's the study that I just
   22                                                  22 don't know the specifics, you know, the other
      came across most recently. The vast
   23                                                  23 ones. Maybe the other ones, you know, as I
      majority, you know, of the other paper, as
   24                                                  24 said, I just came across.
      far as I, you know, came across, you know,
                                            Page 337                                            Page 339
   1  they seem to be all -- you know, all, like,      1        But this particular one,
   2  related to animal.                             2 because of, as I said, well designed, you
    3          There may be like, you know,          3 know, studies with large significant, you
    4 another one. They may be doing a similar       4 know, you know, patient populations.
    5 study, you know. But to me, you know, the      5     Q. Coming back to the EMA
    6 study design, you know, may not be very well,  6 standard, this indicates in the paragraph
    7 you know, controlled.                          7 we've been reading on page 6, in the second
    8          I mean, because whenever you do       8 sentence, "This group of high potency
    9 those things you -- from a scientific basis,   9 genotoxic carcinogens comprises
   10 you know, you need to well control, you know, 10 aflatoxin-like, N-nitroso-, and
   11 you know, your patient population. And also   11 azoxy-compounds that have to be excluded from
   12 your patient population need to be large      12 the threshold of toxicological concern
   13 enough to be statistically meaningful, right? 13 approach. Risk assessment of members of such
   14          So in this case, 40-plus             14 groups require compound-specific toxicity
   15 thousand versus 10,000, you know, 10,000-plus 15 data."
   16 control group, you know, to me it's a very    16          Do you see what I just read?
   17 well-controlled study.                        17     A. Yes.
   18     Q. So you mentioned a study done          18     Q. And, again, when they --
   19 out of Korea. Are you aware of any other      19 rephrase.
   20 studies addressing the risk of cancer to      20          When the EMA standards --
   21 humans due to nitrosamines?                   21 rephrase.
   22     A. There may be some, but I               22          When this EMA guidance document
   23 haven't -- you know, due to my limited time,  23 refers to N-nitroso-, they're talking about
   24 I haven't, you know, had a chance to go       24 nitrosamines including NDMA, correct?




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   1      A. NDMA is one member of this                1
                                                     unacceptable for patients, correct?
   2  class compound.                              2          MR. BALL: Objection. Vague,
    3     Q. And another -- rephrase.              3     calls for expert testimony, and
    4          Another nitroso compound is         4     speculative.
    5 NDEA, correct?                               5     A. I think this is the same
    6     A. Yes.                                  6 question you just asked before.
    7     Q. And the European Regulatory --        7 BY MR. SLATER:
    8 rephrase.                                    8     Q. Is the answer yes?
    9          The European Medicines --           9          MR. BALL: Go ahead and answer
   10 rephrase.                                   10     if you can, Dr. Li.
   11          The European Medicines Agency      11     A. I already told you, you know,
   12 referred to NDMA and NDEA as "high potency 12 this would be best answered, you know, by a
   13 genotoxic carcinogens." That's how they're  13 toxicologist.
   14 referenced in this guidance document,       14 BY MR. SLATER:
   15 correct?                                    15     Q. Well, I'm just asking,
   16     A. As a group, they are                 16 factually the answer is yes, correct? That's
   17 potentially high -- you know, high potency, 17 why you stopped selling valsartan, correct?
   18 right. Here it says, yeah, you need to have 18          MR. BALL: Objection.
   19 a, you know, compound, you know, you know, 19      Mischaracterizes earlier testimony,
   20 specific.                                   20     vague and speculative, and lacks
   21          But also, you know, like I         21     foundation.
   22 indicated yesterday, not all nitrosamine    22     A. Again, you know, as I answered
   23 compound they have the same, you know,      23 it before, you know, the reason we, you know,
   24 potential risk, okay? For example, as I     24 stop after, you know, we did our, you know,

                                            Page 341                                         Page 343
   1  mentioned, you know, impurity K of valsartan,    1
                                                       thorough investigation is based upon the
   2  it has been treated as a regular impurity by   2 potential risk.
    3 the original innovator, Novartis.              3 BY MR. SLATER:
    4     Q. In terms of the nitrosamines            4      Q. All risks are potential,
    5 that are high potency genotoxic                5 correct?
    6 carcinogenics, one of those is NDMA, right?    6           MR. BALL: Objection. Vague.
    7     A. As I said, the NDMA or NDEA,            7 BY MR. SLATER:
    8 they have potentially high risk -- potential   8      Q. That's why they're called
    9 high risk, based upon animal studies.          9 risks.
   10     Q. That potential high risk is            10           MR. BALL: Objection.
   11 considered to be unacceptable in valsartan,   11      Compound.
   12 correct?                                      12      A. I don't -- certain -- well,
   13           MR. BALL: Objection.                13 it's all how you define it. There's certain
   14     Foundation, calls for expert              14 risk is confirmed, okay? It really, I guess,
   15     testimony.                                15 depends upon the context when you discuss
   16     A. I think I answered, you know,          16 risk.
   17 this question before. You know, with regard   17           I mean, I'm not an expert, you
   18 to, you know, acceptable level in patient, I  18 know, you know, you know, like, you know, you
   19 think it's best answered by a toxicologist.   19 know, to discuss that exactly definition, you
   20 BY MR. SLATER:                                20 know, you know, of risk, but I know, you
   21     Q. In terms of what actually              21 know, people use potential risks.
   22 happened in June of 2018, the consensus among 22           And also, you know, sometimes,
   23 those scientists responsible for this issue   23 you know, they just use, you know, like seems
   24 in the United States was that this risk was   24 to be like a -- you know, a confirmed risk.




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    1                                                 1
      BY MR. SLATER:                                      305. Do you have like a 305A or a
    2                                                2
           Q. The scientific consensus is                 306?
    3                                                3
      that ingesting NDMA as a contaminant of                  MS. CALDERON: I'm trying to
    4
      valsartan poses a health risk to those people 4     load it now. Just give me one second.
    5                                                5
      that take the pills, correct?                            MR. BALL: Okay.
    6                                                6
                MR. BALL: Objection.                           MR. SLATER: Just let me know.
    7                                                7
           Objection. Foundation, calls for                    MS. CALDERON: All right. I
    8                                                8
           expert testimony, and speculative.             was on mute.
    9                                                9
           A. I think you already asked                        Do you see it?
   10                                               10
      several times. You know, essentially this is             MR. BALL: Let me refresh. Is
   11
      the same question you asked before. I think 11      it 306?
   12                                               12
      I already answered that.                                 MS. CALDERON: I did 306-t.
   13                                               13
      BY MR. SLATER:                                           MR. BALL: Yep, got it. Thank
   14                                               14
           Q. Well, is the answer to that                 you. I'm trying to open it now.
   15                                               15
      question yes? The answer is yes, right?                  (Whereupon, Exhibit Number
   16                                               16
                MR. BALL: Objection.                      ZHP-306-t was marked for
   17                                               17
           Mischaracterizes his earlier                   identification.)
   18                                               18
           testimony.                                          MR. BALL: Cheryll, that's not
   19                                               19
           A. As I said, you know, our                    showing me any -- there we go, okay.
   20                                               20
      decision was based upon potential risk to           Sorry. It opened.
   21                                               21
      humans.                                                  MS. CALDERON: Okay.
   22                                               22
                MR. SLATER: Cheryll, we can                    MR. BALL: It just look a long
   23                                               23
           take that one down. Give me one                time to open, sorry.
   24                                               24
           second to get organized, I will tell                ///
                                           Page 345                                        Page 347
    1                                                 1
          you what we're going to next, or ask      BY MR. SLATER:
    2                                             2
          you to take us to where we're going            Q. Okay. On the screen we have
    3                                             3
          next.                                     Exhibit -- gosh, I don't know what number
    4                                             4
               Okay. Let's go to ZHP01390339,       we're up to. I lost track.
    5                                             5
          please.                                             MS. CALDERON: 306.
    6                                             6
               (Whereupon, Exhibit Number                     MR. SLATER: 306.
    7                                             7
          ZHP-306 was marked for                         Q.    On the screen we have
    8                                             8
          identification.)                          Exhibit 306, which is an e-mail that was sent
    9                                             9
               MR. BALL: Hey, Adam, do you          to you on September 25, 2018. Who sent that
   10                                            10
          guys have a translated version of this    e-mail to you?
   11                                            11
          that I can look at?                            A. It's Mr. Lin.
   12                                            12
               MR. SLATER: I think so.                   Q. Jinsheng Lin?
   13                                            13
          Cheryll can confirm. If we don't               A. Yes, Jinsheng Lin. Yes.
   14
          we'll make one for you, but I think we 14      Q. And just to refresh our
   15                                            15
          do.                                       recollection again, as of 2018 what was his
   16                                            16
               MS. CALDERON: Give me one            position in your department?
   17                                            17
          second, I'll put it in the --                  A. I think he should be like
   18
               MR. SLATER: No problem. Take 18 associate technical director.
   19                                            19
          your time.                                     Q. Mr. Lin wrote to you, and since
   20                                            20
               (Pause.)                             the  e-mail  is short, maybe you could tell us
   21                                            21
               MR. SLATER: Are we good?             what it says, please.
   22                                            22
               MR. BALL: I still don't have              A. Sure. Yeah, basically, you
   23                                            23
          it. Hold on, maybe I need to refresh,     know, it's the same thing, you know, for the
   24                                            24
          sorry. No, I still -- I only have the     title of the attachment. Yeah, essentially


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   1                                                  1
      it's the list of the potential organic                    MR. SLATER: And hopefully
   2                                                2
      impurity of valsartan basically. Yeah,              we'll turn it.
    3                                               3
      that's what it is.                                        MR. BALL: Yeah, can we upload
    4                                               4
           Q. It says that there's a list of              an English version for me? Thank you.
    5
      potential organic purities for valsartan and 5            THE WITNESS: Could you
    6                                               6
      points out that impurity K is not listed,           increase the scale? It's --
    7                                               7
      correct?                                                  MR. SLATER: Cheryll, download
    8
           A. Oh, yes, mm-hmm, it says, yes. 8            the -- upload the English version
    9                                               9
           Q. And why did he point out that               first, let's get that to Rick first,
   10                                              10
      impurity K was not listed in this list of           and then we'll worry about this
   11                                              11
      potential organic purities for valsartan?           document.
   12                                              12
                MR. BALL: Objection.                            MS. CALDERON: I am having an
   13                                              13
                I think you mean impurities,              issue uploading to the link, I just
   14                                              14
           Adam, not purities.                            have to restart it. If you just give
   15                                              15
                MR. SLATER: Did I say                     me a minute.
   16                                              16
           purities?                                            MR. SLATER: No problem.
   17                                              17
                MR. BALL: You said purities.                    Can we go off? I just got a
   18                                              18
      BY MR. SLATER:                                      message from Cheryll, she's lost her
   19                                              19
           Q. Oh. I'll ask it again.                      feed.
   20                                              20
                Why did Mr. Lin point out to                    MR. BALL: Okay. That's fine.
   21
      you that impurity K was not listed in this 21             Do you want to take a break now
   22                                              22
      list of potential organic impurities for            then, Adam? We've got about an hour
   23                                              23
      valsartan?                                          ten.
   24
           A. I don't know. I don't know why 24                 MR. SLATER: That's fine.
                                           Page 349                                      Page 351
   1                                                  1
      he did that. Maybe that's already confirmed,         That's probably a good idea.
   2                                                 2
      you know. So because here it says list of                 MR. BALL: Okay. Go ahead.
    3                                                3
      potential, so impurity K, you know, because               MR. SLATER: Let's go off the
    4                                                4
      as I said, you know, from the very beginning         record, Judy.
    5                                                5
      it has been controlled as a regular impurity,             MR. BALL: Yeah, go off the
    6                                                6
      and it's sort of -- you know, at this point,         record.
    7                                                7
      you know, it's quite well-known.                          THE VIDEOGRAPHER: The time
    8                                                8
          Q. If I understand what you've                   right now is 8:14 a.m. We're off the
    9                                                9
      been saying is it's your testimony that              record.
   10                                               10
      impurity K was controlled as a regular                    (Whereupon, a recess was
   11                                               11
      impurity, not as a nitrosamine impurity, is          taken.)
   12                                               12
      that what you're telling me?                              THE VIDEOGRAPHER: The time
   13                                               13
          A. Yes.                                          right now is 8:29 a.m. We're back on
   14                                               14
               MR. BALL: Objection.                        the record.
   15                                               15
          Mischaracterizes his testimony. But          BY MR. SLATER:
   16                                               16
          go ahead. Sorry.                                 Q. On the screen is a document
   17                                               17
          A. Yeah, the answer is yes.                  we've marked as Exhibit 307. Do you see
   18                                               18
               MR. SLATER: Let's go now to a           that?
   19                                               19
          new document, ZHP00457705, which we              A. Mm-hmm.
   20                                               20
          will mark as Exhibit 307.                        Q. And what's the title of that
   21                                               21
               (Whereupon, Exhibit Numbers             document? What does it say at the top?
   22
          ZHP-307 and ZHP-307-t were marked for 22         A. It says "Drug Substance Product
   23                                               23
          identification.)                             Deficiency Letter Progress," and then it
   24                                               24
               ///                                     looks like a date, 2020, March 19th.


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   1                                                    1      A. Mm-hmm.
           Q. So this is a list of deficiency
   2                                                    2      Q. The next column next to Number,
      letters having to do with the drug substances
    3                                                    3 what does that heading say?
      and their progress in being responded to?
    4                                                    4     A. That's the product name.
           A. Yes.
    5                                                    5     Q. What's the third column
           Q. Looking at the --
    6                                                    6 heading?
                MR. SLATER: If you could
    7                                                    7     A. It's the market.
           scroll up a little bit, Cheryll, so we
    8                                                    8     Q. When you say "the market,"
           get all of Box 5. Great. You've got
    9                                                    9 meaning the country where it's sold?
           to scroll down a little bit, actually.
   10                                                   10     A. Right.
                MR. BALL: Adam, can I say one
   11                                                   11     Q. What's the fourth column
           thing?
   12                                                   12 heading?
                MR. SLATER: What?
   13                                                   13     A. The fourth column, you mean in
                MR. BALL: The English
   14                                                   14 terms of market, right?
           translation of this, it makes no sense
   15                                                   15     Q. The first column was number,
           at all, none. I'm sure Cheryll could
   16                                                   16 the second column was the product name, the
           read it to you and let you know that
   17                                                   17 third was the market. What's the fourth
           it makes no sense.
   18                                                   18 column heading?
                We'll go ahead with the
   19                                                   19     A. Oh, I'm sorry. Basically it's
           deposition, and if I have questions
   20                                                   20 the summary of the main issue. Yeah.
           regarding what Dr. Li is reading, we
   21                                                   21     Q. What is the fifth column
           can -- we can address that, but --
   22                                                   22 heading?
                MR. SLATER: Do you want to --
   23                                                   23     A. The fifth column heading -- you
           do you want to take a moment, we'll go
   24                                                   24 mean you want me to go through, you know, the
           off and you can have it translated?
                                             Page 353                                             Page 355
   1                                                    1
                                                    summary of the main deficiency or the main
               MR. BALL: No, I'd like you to
   2                                              2 issue?
          provide a translation that's actually
    3                                             3      Q. No. What I'm asking you is,
          understandable. For example, I can
    4                                             4 we've been going across the top row where the
          read you some of what it says --
    5                                             5 headings -- where the titles of each of the
               MR. SLATER: No, I don't need
    6                                             6 columns is set forth.
          you to. I'm saying -- let's go off
    7                                             7          So the left-hand column, the
          the record for a second if we're going
    8                                             8 first column was number.
          to discuss this.
    9                                             9      A. Uh-huh.
               MR. BALL: Okay.
   10                                            10      Q. The second column was product
               THE VIDEOGRAPHER: The time
   11                                            11 name.
          right now is 8:30 a.m. We're off the
   12                                            12      A. Right.
          record.
   13                                            13      Q. The third column was the
                 (Off the record discussion.)
   14
               THE VIDEOGRAPHER: The time 14 market.
   15                                            15      A. Right.
          right now is 8:32 a.m. We're back on
   16                                            16      Q. The fourth column was the
          the record.
   17                                            17 summary of the main issue.
      BY MR. SLATER:
   18                                            18          I'm asking you what the heading
          Q. Looking at Box Number 5 --
   19                                            19 on the fifth column is now.
      actually let's start at the top with the
   20                                            20      A. Oh, I'm sorry. Okay. That's
      headings.
   21                                            21 the progress. Yeah, current status and the
               The left-hand column the
   22
      heading is "Number," so we can understand 22 progress.
   23                                            23      Q. Okay. And what's the last
      that. That's just a listing of each of the
   24                                            24 column, the sixth column?
      deficiency letters?


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   1      A. That's the expected submission,           1     A.     Okay. Yeah, okay, yeah.
   2  you know, to the regulatory agencies.            2     Q.     Let me ask the question.
    3     Q. When you say "the expected                 3          In the fourth column, which is
    4 submission," is that a date or --                 4 the heading you said was summary of the main
    5     A. Or day or, yeah, or month,                 5 issue --
    6 whatever, yeah.                                   6     A. Right.
    7     Q. Now, applying those headings,              7     Q. -- what does number 2 say?
    8 we'll be able to walk through the fifth row,      8     A. It says, impurity K and
    9 number 5.                                         9 impurity L, it said required to be controlled
   10          Do you see number 5 down there?         10 as nitrosamine impurity.
   11     A. Mm-hmm, yep.                              11     Q. And that would have been the
   12     Q. What is the product name for              12 requirement from the FDA in the United
   13 row 5?                                           13 States, correct?
   14     A. Valsartan.                                14          MR. BALL: Objection. Calls
   15     Q. What is the market?                       15     for expert -- calls for a legal
   16     A. US market.                                16     conclusion.
   17     Q. Then in the summary of the main           17     A. Let me provide a more complete
   18 issue, tell me if I understand this              18 background, okay?
   19 correctly. The first line has to do with         19          So, as I mentioned, you know,
   20 reprocessing plan for the NDMA and the NDEA      20 since the very beginning, you know,
   21 for the old process?                             21 impurity K and -- you know, has been
   22          MR. BALL: Adam, I'm going to            22 controlled as a regular impurity, okay, at
   23     object. You clearly have an English          23 1,000 ppm.
   24     translation of this that you have            24          And impurity L is a, you know,
                                            Page 357                                            Page 359
   1                                                   1
                                                     closed structure analog of impurity K. So
           refused to share with us. So you may
   2                                               2 essentially it's like the impurity of the
           proceed if you want, but --
    3                                              3 impurity, okay.
                MR. SLATER: What I said is I
    4                                              4          And based upon the
           don't have a translation of the entire
    5                                              5 quantitative, you know, structure-activity
           document. That's why I asked Dr. Li
    6                                              6 relationship, okay, impurity L, you know, can
           to translate.
    7                                              7 be also treated as a regular impurity, okay.
                But why don't we go off the
    8                                              8          And so with regard to this
           record. Hang on. Let's go off the
    9                                              9 particular request or the deficiency letter
           record.
   10
                THE VIDEOGRAPHER: The time 10 from the FDA, right, during -- well, this is
   11                                             11 because we filed an amendment, okay, as far
           right now is 8:36 a.m. We're off the
   12                                             12 as I understand, okay, to the FDA submitting
           record.
   13                                             13 our, you know, optimized or -- you know, with
                  (Off the record discussion.)
   14
                THE VIDEOGRAPHER: The time 14 a separate quenching valsartan, you know,
   15                                             15 improved process, okay?
           right now is 8:36 a.m. We're back on
   16                                             16          So in that submission we
           the record.
   17                                             17 were -- you know, we were referring to, you
      BY MR. SLATER:
   18                                             18 know, the control of, you know, impurity K as
           Q. Looking at line number 2 in the
   19                                             19 a regular impurity by pointing or referencing
      fourth column, can you tell me what that
   20                                             20 European, you know, you know, you know,
      says, please?
   21                                             21 regulatory documents, okay.
           A. You mean the number 1 in the
   22                                             22          And then FDA responded, right?
      first column, right?
   23                                             23 I think that was like about, you know, more
           Q. Well, we just went through
   24                                             24 than one year ago, okay. FDA basically says,
      number 1, right?


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                                             Page 360                                             Page 362
   1                                                    1
                                                       decide whether, you know, it can be qualified
      okay, if I, you know, remember, you know,
   2                                                 2 as a regular impurity.
      correctly, I think it basically says for
    3                                                3          So in the end we, you know,
      impurity K, although it said your statement
    4                                                4 contracted an external, you know, CRO, okay,
      saying, you know, impurity K is Ames
    5                                                5 to do a particular in vivo animal study; it's
      negative, right?
    6                                                6 called a comet assay.
               And however, okay, at that
    7
      point, okay, FDA says we still need you guys 7            This particular comet assay is
    8                                                8 also mentioned in the M7, okay, as part of
      to, you know -- you have some like -- you
    9                                                9 the in vivo, you know, test, you know,
      know, like two or three options, okay, to go
   10                                               10 evaluating the, you know, the -- ultimately
      ahead.
   11                                               11 the, you know, the potential, you know,
               First, we require you to do,
   12                                               12 carcinogenic, you know, potential. Okay.
      you know, in vivo animal studies, right, so
   13                                               13          So -- yeah. So afterwards, you
      that's number one.
   14                                               14 know, because from the process, as I said,
               Number two, if you, you know,
   15
      was not able to do the animal study, then you 15 based upon the nature of the process, you
   16                                               16 know, you just cannot control at such a low
      need to control as, you know, as a
   17                                               17 level. So we -- as I said, we revert to
      nitrosamine or treated as a nitrosamine
   18                                               18 option one, okay.
      impurity. Okay. So that's where, you
   19                                               19          So we have to prepare enough
      know -- you know, how the issue basically,
   20                                               20 quantity and then, you know, send out for
      you know, came out.
   21                                               21 this comet assay. And the results of the
               So for this specific request,
   22
      right, and from our regulatory, you know, you 22 comet assay cannot be negative. Okay.
   23
      know, affairs department, I think, you know, 23           And then I think in the
   24                                               24 beginning of this year we submitted, you
      they probably, you know, requires, you know,
                                             Page 361                                             Page 363
   1  you know, CEMAT to develop a -- like a            1  know, this result to the FDA, okay? So this
   2  quantitative method to give a more accurate,      2  exactly, you know, how everything evolved or
    3 you know, you know, method to control, you         3 happened.
    4 know, you know, to see either, you know, you       4 BY MR. SLATER:
    5 know, impurity K or L can be controlled as a       5      Q. Coming back to my question, was
    6 nitrosamine impurity, which means, you know,       6 it the FDA that directed ZHP to control
    7 a specification of like 26.5 nanogram per          7 impurities K and L as nitrosamine impurities?
    8 day, okay?                                         8      A. I think I already explained it
    9          So I think, yeah, this is, you            9 quite clearly. They gave us two options.
   10 know, you know, you know, is -- basically,        10          One option is to do in vivo
   11 again, if my memory, you know, you know, you      11 animal studies. Okay. So basically what
   12 know, is correct, so this is basically how,       12 that means is if in vivo animal study cannot
   13 you know, this came out, right?                   13 be negative, you know, they may, you know,
   14          I think in the end, based upon           14 accept our, you know, you know, argument
   15 our study, impurity K could not be, you know,     15 that, you know, impurity K can be treated as
   16 controlled at such a low level, okay, due to      16 a regular impurity, which is already or still
   17 the nature of the process chemistry. Okay?        17 being done, you know, based upon the policy
   18          So then after that, we revert            18 from European regulatory agencies. Okay.
   19 to another, you know, like option 1, right,       19          So the option two is if we, you
   20 because FDA say, you know, you need to do the     20 know, is not able, like it was not able to do
   21 in vivo animal study. And if the animal           21 that, for whatever the reason, right, lack of
   22 study results is negative, then, you know,        22 resources or no CRO, for example, you know,
   23 you communicate that to us and then we'll --      23 you know, in China would do that kind of
   24 you know, basically, you know, they will          24 study, then we need to control impurity K and




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   1  L as, you know, nitrosamine, like a default,      1
                                                           BY MR. SLATER:
   2  you know, specification, which, as I              2
                                                               Q. On the screen we have
    3 mentioned, 26.5 nanogram per day.                  3
                                                           Exhibit 307, which looks like it was -- has a
    4      Q. You said that number 2                     4
                                                           fax date at the top of March 18, 2020.
    5 indicated that impurity K and impurity L were      5
                                                                    MS. CALDERON: Adam, it's 308.
    6 required to be controlled in accordance with       6
                                                               I'm sorry to interrupt.
    7 nitrosamine impurities. I'm simply asking          7
                                                                    MR. SLATER: The exhibit number
    8 was it the FDA that was requiring that.            8
                                                               is 308?
    9           MR. BALL: Objection. Asked               9
                                                           BY MR. SLATER:
   10      and answered, and it mischaracterizes        10
                                                               Q. Exhibit 308, which has a March
   11      his earlier testimony.                       11
                                                           2020 fax stamp at the top, is a letter from
   12      A. Again, you know, this statement           12
                                                           the FDA to Huahai US as US agent for ZHP.
   13 is taking, you know, you know, out of the         13
                                                                    Do you see that?
   14 context. Okay. In this particular case,           14
                                                               A. Yes, I see that.
   15 probably in every cases, okay, you cannot         15
                                                               Q. And it --
   16 taking, you know, your question out of the        16
                                                                    MR. SLATER: Scroll down,
   17 context. Okay. So I already repeated it           17
                                                               please, Cheryll.
   18 twice, right?                                     18
                                                               Q. This indicates, "Dear Sir:
   19           So there's two options, okay.           19
                                                           This communication is in reference to your
   20 Only if we are not able to do the option one,     20
                                                           Type II Drug Master File for Valsartan USP
   21 then, you know, we will need to do the option     21
                                                           (Process II)."
   22 two, which is to control that as nitrosamine      22
                                                                    And I want to stop there. What
   23 default values. Okay. So, you know, so            23
                                                           is Valsartan Process II?
   24 otherwise, you know, you are basically, you       24
                                                               A. Process II, I think it is -- by
                                             Page 365                                             Page 367
   1  know, not saying, you know, you know, you         1  this time it should have been the zinc
   2  know -- I mean, it would be very much             2  chloride process.
    3 misleading, okay?                                  3          MR. SLATER: Let's go to the
    4 BY MR. SLATER:                                     4     second page, please, paragraph
    5      Q. The deficiency letter that's               5     number 5.
    6 being addressed in row 5 was a deficiency          6     Q. This states, "In the
    7 letter from the FDA, correct?                      7 January 21, 2020 amendment you stated in
    8      A. It is for FDA, based upon our,             8 3.2.S.2.2 that impurities K and L were
    9 you know, the amendment to submit our, you         9 negative in the Ames assay and that these
   10 know, newly improved, you know, valsartan         10 could be controlled as 'any single impurity'
   11 process.                                          11 at NMT 0.10 percent in the drug substance.
   12           And by the way, you know, by            12 Please note that our clinical group has
   13 the way, this process has already been            13 stated that Ames assays may not fully
   14 accepted by the European regulatory agencies.     14 characterize the mutagenicity of N-nitroso
   15 We already resume the supply of valsartan         15 compounds due to species-specific differences
   16 drug substances to the European market as         16 in metabolic activation of potential
   17 well as to the Chinese market.                    17 mutagens."
   18           MR. SLATER: Let's take that             18          Do you see what I just read?
   19      document down, and the next document         19     A. Yeah, mm-hmm.
   20      we'll go to which will be Exhibit 308,       20     Q. The letter continues, "These
   21      it will be PRINSTON00285416.                 21 N-nitroso compounds are identified as part of
   22           (Whereupon, Exhibit Number              22 the 'cohort of concern' for potent
   23      ZHP-308 was marked for                       23 carcinogenic effects, therefore additional
   24      identification.)                             24 caution and a more robust characterization of




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   1  their mutagenic potential is warranted. We       1      Q. The impurities that led to
   2  recommend the following regarding the nitroso    2  the -- well, withdrawn.
    3 valsartan and nitroso valsartan methyl ester      3          MR. SLATER: Okay. I think we
    4 impurities in valsartan drug substance," and      4     finished that document. We'll take
    5 then there's two --                               5     that down.
    6     A. Two options.                               6          Cheryll, let's now go to
    7     Q. -- two options indicated.                  7     ZHP00387118, please.
    8          Do you see that?                         8          (Whereupon, Exhibit Number
    9     A. Oh yeah. Yeah. That's exactly              9     ZHP-309 was marked for
   10 what I said, two options.                        10     identification.)
   11     Q. Number one says, "Reduce                  11 BY MR. SLATER:
   12 Impurities K and L in your drug substance to     12     Q. On the screen we have what
   13 levels that are below the reporting threshold    13 we've now marked as Exhibit -- gosh, I should
   14 of 0.03 parts per million."                      14 know what I'm talking about before I start
   15          Do you see that?                        15 talking about the exhibit.
   16     A. Mm-hmm.                                   16          On the exhibit -- rephrase.
   17     Q. And the second option is to               17          On the screen is Exhibit 309,
   18 "characterize each impurity in an in vivo        18 which is a scientific literature article.
   19 gene mutation assay," and then it describes      19          Do you see that?
   20 that.                                            20     A. Yeah, mm-hmm.
   21          Do you see that?                        21     Q. And it's titled, excuse my
   22     A. Oh, yeah, sure.                           22 pronunciations, "Development of Liquid
   23     Q. At no time did the FDA or any             23 Chromatography Electrospray Ionization Tandem
   24 regulatory agency tell ZHP that it could         24 Mass Spectrometry Methods for Analysis of DNA

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   1  treat NDMA or NDEA as -- I need to rephrase      1  Adducts of Formaldehyde and Their Application
   2  the question.                                    2  to Rats Treated with NDMA or
    3          At no time did the FDA permit            3 4-(Methylnitrosamino)-1-(3-pyridyl)-1-
    4 ZHP to treat NDMA as anything other than a        4 butanone," and it says that it was a 2007
    5 nitrosamine impurity once the FDA became          5 publication.
    6 aware of it, correct?                             6           Do you see that?
    7     A. We're talking about here, you              7      A. Yes.
    8 know, impurity K and L. I mean, now you're        8      Q. And this article, I believe --
    9 switch, you're talking about NDMA.                9 well, rephrase.
   10     Q. Okay. I asked -- do you want              10           This is an article that you've
   11 me to reask my question?                         11 read, correct?
   12     A. Sure.                                     12      A. I have not gone through this
   13     Q. At any time did the FDA tell              13 particular article.
   14 ZHP that it did not have to control NDMA as a    14      Q. Are you sure about that?
   15 nitrosamine impurity?                            15      A. Yeah, I'm pretty sure. I may
   16     A. No.                                       16 have -- I don't know, I may have downloaded
   17     Q. At any time did the FDA tell              17 it, but I can tell you I just haven't gone
   18 ZHP that it did not have to control NDEA as a    18 through, you know, this particular article in
   19 nitrosamine impurity?                            19 details.
   20     A. No.                                       20      Q. Let's go through -- I actually
   21     Q. The impurity that led to the              21 didn't complete introducing the article so
   22 recall of the zinc chloride process valsartan    22 let me just make sure for the record I
   23 was NDMA, correct?                               23 address it -- rephrase.
   24     A. Yes.                                      24           This article was written by --


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   1  it looks like there's a handful of authors,      1   Q. Yes.
   2  just for the record their names are Mingyao    2     A. Okay. So what is the question?
    3 Wang, Guang Cheng, Peter Villalta, and         3 I'm sorry.
    4 Stephen S. Hecht, and it looks like from the   4     Q. They're talking about these
    5 University of Minnesota Cancer Center.         5 nitrosamines having an impact and reacting
    6           Do you see that in front of          6 with and changing DNA, correct?
    7 you?                                           7     A. Yes. But it looks like, you
    8      A. Oh, yeah, yeah. Yeah, could            8 know, as I said, this whole research was
    9 you maybe, you know, increase, you know, just  9 based upon animal studies. Yeah, so from the
   10 a little bit? Yeah. Yeah, that's better.      10 animal study at very high doses, looks like,
   11 Thank you.                                    11 you know, they isolated these DNA or -- yeah,
   12           MR. SLATER: Let's go, if we         12 you know, adducts. Yeah, that's what it
   13      could, Cheryll, to the second page of    13 says, it looks like.
   14      the article. I want to talk about a      14           MR. SLATER: Cheryll, please
   15      particular part of it.                   15     scroll back down to where we were so
   16           I'm only going to use the           16     we can get to the -- perfect. Thank
   17      left-hand column, so if it needs to be   17     you.
   18      larger it's fine.                        18     Q. The article continues, "The
   19           That's good. And you can just       19 roles" -- I just read that. Rephrase.
   20      scroll up now. Perfect.                  20           Actually, I didn't get there.
   21      Q. Looking at the left-hand column       21 Let me continue. New question.
   22 at the top it says, "NDMA and NNK are         22           Continuing now, it says, "The
   23 representative N-nitroso methyl carcinogens.  23 roles in carcinogenesis of these and related
   24 Beginning with the landmark studies of Magee, 24 methyl- and pyridyloxobutyl DNA adducts of

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   1  Dutton, Heath, and Druckrey nearly 50 years      1  NDMA, NNK, and other N-nitroso compounds have
   2  ago, well-established pathways of metabolic      2  been extensively studied," and I want to stop
    3 activation of nitrosamines involving              3 there.
    4 cytochrome P450-mediated a-methyl                 4          And you would agree with me
    5 hydroxylation have been described in the          5 that there are a lot of studies talking about
    6 literature."                                      6 the fact that NDMA and NNK and other
    7           Do you see what I'm reading?            7 nitrosamine are carcinogenic, correct?
    8      A. Mm-hmm.                                   8          MR. BALL: Objection. Vague.
    9      Q. It says further, "As shown in             9      A. Based upon the statement here,
   10 Scheme 1, methyl hydroxylation of NDMA and       10 it looks like, yeah, that's the case. But
   11 NNK yields intermediates 5 and 9, which          11 again, you know, based upon, you know, my
   12 spontaneously release reactive                   12 knowledge, you know, as I said, of these
   13 diazohydroxides 6 and 10. These                  13 studies, you know, they were based upon
   14 diazohydroxides or the corresponding             14 animal studies.
   15 diazonium ions react with DNA, producing         15 BY MR. SLATER:
   16 adducts such as 06-methyl-dGuo from NDMA and     16      Q. The last sentence of this
   17 06-pyridyloxobutyl-dGuo (06-POB-dGuo) from       17 section says, "In this paper, we present the
   18 NNK."                                            18 first evidence that formaldehyde DNA adducts
   19           I want to stop there. This is          19 are formed in the lung and liver of rats
   20 talking about these nitrosamines reacting        20 treated with NDMA and NNK."
   21 with and causing changes to DNA, correct?        21          Do you see that?
   22      A. Could we just scroll up a                22      A. Yes.
   23 little bit? I just want to take a look at        23      Q. So when they -- rephrase.
   24 the, you know, the reaction scheme.              24          When they discuss treating rats



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   1  with NDMA, they're talking about giving NDMA     1  that first "The results of this study provide
   2  to these rats in order to intentionally cause    2  the first evidence for the presence of
    3 them to develop cancer, correct?                  3 formaldehyde DNA adducts in laboratory
    4          MR. BALL: Objection. Vague,              4 animals."
    5     and mischaracterizes the document.            5           Do you see that?
    6     A. Looks like this is what it                 6      A. Uh-huh, sure.
    7 says.                                             7      Q. If we go down a little further
    8 BY MR. SLATER:                                    8 in that paragraph, about halfway down it
    9     Q. And you know that NDMA has been            9 says, "The method was applied to rats treated
   10 used for many years, and it's well understood    10 with the carcinogenic nitrosamines NDMA and
   11 to give cancer to laboratory animals so they     11 NNK, and the results demonstrate for the
   12 can then be studied, because it's so             12 first time that formaldehyde DNA adducts are
   13 efficient at causing cancer, correct?            13 produced from these carcinogens, in addition
   14          MR. BALL: Objection. Calls              14 to the well-characterized adducts, which
   15     for expert testimony, foundation,            15 result from diazohydroxides formed in
   16     vague.                                       16 nitrosamine metabolism."
   17     A. As I indicated, or as I                   17           Do you see that?
   18 answered before, animal study, you know, at a    18      A. Yes. Let me read it through
   19 very high dose, you know, it issues              19 again.
   20 carcinogenic to the animals.                     20           (Witness reviewing document.)
   21 BY MR. SLATER:                                   21      A. Okay, yeah.
   22     Q. It's accepted in the scientific           22      Q. When this refers to NDMA as a
   23 community that NDMA very efficiently causes      23 carcinogenic nitrosamine, that means from a
   24 cancer in laboratory animals when scientists     24 scientific perspective that it's a

                                            Page 377                                            Page 379
   1  want to study the cancer in those laboratory     1
                                                      nitrosamine that causes cancer, correct?
   2  animals, correct?                             2
                                                                MR. BALL: Objection. Vague,
    3            MR. BALL: Objection. Calls         3
                                                           calls for expert testimony,
    4      for expert testimony, testimony          4
                                                           mischaracterizes the document.
    5      foundation, vague.                       5
                                                           A. I mean, again, as I, you know,
    6      A. Based upon the description in         6
                                                      answered previously, it's carcinogenic to
    7 this particular paragraph, or in particular   7
                                                      animal -- you know, laboratory animals, and
    8 the last sentences, it didn't say that, you   8
                                                      it's, you know, it's a probable carcinogenic
    9 know. It just said the first evidence         9
                                                      to humans.
   10 formaldehyde NDMA -- I'm sorry --            10
                                                      BY MR. SLATER:
   11 formaldehyde DNA adducts are formed in the   11
                                                           Q. You said "it's a probable
   12 livers of rats treated with NDMA and NNK. So 12
                                                      carcinogenic to humans"? That's the last
   13 it didn't say anything else.                 13
                                                      part you said?
   14            MR. SLATER: Let's go now to       14
                                                           A. Yes.
   15      the page where the Bates number is      15
                                                                MR. SLATER: Okay. We can take
   16      123, the last three digits, please.     16
                                                           this document down now. Just give me
   17      It's the "Discussion" left-hand column  17
                                                           a second. I'll find the next one
   18      on that page. I just want to bring up   18
                                                           hopefully. There it is.
   19      the discussion there. Perfect. Thank    19
                                                                Cheryll, let's go now to the
   20      you.                                    20
                                                           2013 ICH Consensus Guideline, please.
   21 BY MR. SLATER:                               21
                                                           Thank you.
   22      Q. Here now in the "Discussion"         22
                                                                (Whereupon, Exhibit Number
   23 part of this article, which was provided to  23
                                                           ZHP-310 was marked for
   24 us by ZHP from ZHP's own files, it states    24
                                                           identification.)


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   1                                                   1
              MR. SLATER: Sorry, I'm having           Foundation.
   2                                           2
         trouble with my binder clip here. I          A. It's already, you know, stated
    3                                          3
         feel like I have to get my binder       very clear, right? It's for the purpose to
    4                                          4
         clips in place before I can move to     limit the potential carcinogenic risk.
    5                                          5
         the next thing.                         BY MR. SLATER:
    6                                          6
              MR. BALL: I have the same               Q. It's to limit the potential
    7                                          7
         problem from time to time. I hate       carcinogenic   risk for human beings ingesting
    8                                          8
         when they flip off of everything and    pharmaceutical products, correct?
    9                                          9
         go all over my office.                       A. Yes.
   10
              MR. SLATER: Yep, they squeeze 10        Q. More specifically, it's seeking
   11                                         11
         off and they fly all over.              to limit that potential carcinogenic risk as
   12                                         12
              MR. BALL: Yep, exactly.            a result of DNA reactive or mutagenic
   13                                         13
      BY MR. SLATER:                             impurities in those pharmaceutical products,
   14                                         14
         Q. Looking now at this exhibit,         correct?
   15                                         15
      which is --                                         MR. BALL: Objection.
   16                                         16
              MR. SLATER: Is this 310?                Foundation.
   17                                         17
         Gosh, am I ever right about the              A. Based upon this title, yes.
   18                                         18
         exhibit number?                                  MR. SLATER: Let's go, if we
   19                                         19
              MS. CALDERON: No. But it's              could, Cheryll, to page 2, please.
   20                                         20
         310, yes.                                    There's a heading number 3 that says
   21                                         21
              MR. SLATER: That's a suspect            "General Principles." You just --
   22                                         22
         response.                                    there you go.
   23                                         23
              MS. CALDERON: You were right       BY MR. SLATER:
   24                                         24
         this time.                                   Q. Looking at heading 3 titled
                                            Page 381                                            Page 383
   1      Q. Do you see Exhibit 310 in front           1  "General Principles," the first sentence
   2  of you?                                          2  says, "The focus of this guideline is on DNA
    3     A. Yes, I do.                                 3 reactive substances that have a potential to
    4     Q. And you've mentioned the ICH               4 directly cause DNA damage when present at low
    5 guidelines during the course of the               5 levels leading to mutations and therefore,
    6 deposition, and this is the one --                6 potentially causing cancer."
    7          MR. SLATER: If you could                 7           So that's giving some overview
    8     scroll up a little, Cheryll.                  8 of what the purpose of this standard is,
    9     Q. It will show that it was dated             9 correct?
   10 February 6, 2013.                                10      A. Mm-hmm.
   11          Do you see that?                        11      Q. Going to the second paragraph,
   12     A. Mm-hmm.                                   12 it starts out, "A Threshold of Toxicological
   13     Q. The title of this document is             13 Concern (TTC) concept was developed to define
   14 "Assessment and Control of DNA Reactive          14 an acceptable intake for any unstudied
   15 (Mutagenic) Impurities in Pharmaceuticals to     15 chemical that will not pose a risk of
   16 Limit Potential Carcinogenic Risk." And it       16 carcinogenicity or other toxic effects."
   17 says then "M7."                                  17           Do you see that?
   18          Do you see that?                        18      A. Mm-hmm.
   19     A. Mm-hmm.                                   19      Q. So the threshold of
   20     Q. Just to be clear on the title             20 toxicological concern is, according to this
   21 and the purpose of this document is to           21 document, applicable to a certain class of
   22 prevent human beings from developing cancers     22 pharmaceutical products, correct?
   23 as a result of pharmaceutical drugs, correct?    23      A. Looks like.
   24          MR. BALL: Objection.                    24           MR. SLATER: Cheryll, could you


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                                            Page 384                                            Page 386
   1      scroll down a little bit so we can get       1  mechanism.
   2      that -- perfect. Thank you.                  2      Q. A degradation pathway can also
    3     Q. At the end of that paragraph it            3 include decomposition of an ingredient in a
    4 says, "Some structural groups were identified     4 manufacturing process -- well, rephrase.
    5 to be of such high potency that intakes even      5          A degradation pathway can
    6 below the TTC would theoretically be              6 also -- well, rephrase.
    7 associated with a potential for a significant     7          Degradation can also refer to
    8 carcinogenic risk. This group of high             8 decomposition yielding impurity, correct?
    9 potency mutagenic carcinogens ('cohort of         9     A. To be precise --
   10 concern') comprises aflatoxin-like,              10          MR. BALL: Objection. Asked
   11 N-nitroso-, and azoxy-compounds." Correct?       11     and answered.
   12     A. Yes.                                      12     A. Sorry, yeah.
   13     Q. And the N-nitroso compounds               13          To be precise, the degradants
   14 include NDMA, correct?                           14 that we discuss here or the document discuss
   15     A. Yes.                                      15 here is typically related to after the making
   16     Q. And N-nitroso compounds include           16 of a drug substance, okay. So once you have,
   17 NDEA, correct?                                   17 you know, the final isolated pure drug
   18     A. Yes.                                      18 substances that have met the -- your
   19          MR. SLATER: Cheryll, could you          19 registered specifications, right, so from
   20     go to page 5, please? Thank you. You         20 that point, okay, you will perform the
   21     can scroll up a little bit more. No,         21 stability study, okay.
   22     the other way. That should do it.            22          So based upon that, you know,
   23     Q. Section 5.2 is titled                     23 you will examine whether that particular drug
   24 "Degradants," or Degradants. How would you       24 substance will decompose to give a number of,

                                            Page 385                                            Page 387
   1  pronounce that?                                  1
                                                          you know, degradation products.
   2      A. Usually pronounce it degradant.           2
                                                                   Or the same thing is true, you
    3     Q. Okay. I'll go with your                    3
                                                          know, once you formulate that already made,
    4 pronunciation.                                    4
                                                          you know, that drug substance into a finished
    5          Section 5.2 is titled                    5
                                                          product, right, and so you're making a
    6 "Degradants." And if we go down to the            6
                                                          finished or dosage form. So the degradants
    7 second to last paragraph in that section it       7
                                                          or the degradation product, you know,
    8 says, "Knowledge of relevant degradation          8
                                                          examination start from that point once you
    9 pathways can be used to help guide decisions      9
                                                          make that product.
   10 on the selection of potential degradation        10
                                                                   So during the process something
   11 products to be evaluated for mutagenicity,       11
                                                          will decompose, but, you know, it's -- it's
   12 e.g., from degradation chemistry principles,     12
                                                          basically outside the scope of, you know, of
   13 relevant stress testing studies, and             13
                                                          what this document is talking about. I would
   14 development stability studies."                  14
                                                          believe, you know, when we're talking about,
   15          I want to stop there and first          15
                                                          you know, drug degradation is, you know, is
   16 ask you what is -- what is a degradation         16
                                                          the -- these two scenarios that I just, you
   17 pathway? What does that mean?                    17
                                                          know, described.
   18     A. Well, basically how a drug --             18
                                                          BY MR. SLATER:
   19 you know, a drug substance will decompose,       19
                                                              Q. Looking at the paragraph --
   20 you know, to form, you know, maybe sometimes,    20
                                                          rephrase.
   21 you know, first through an intermediate and      21
                                                                   Looking at the first paragraph
   22 then to its final product. So basically it's     22
                                                          under the heading "5.2. Degradants," the
   23 just a pathway, you know, or sometimes you       23
                                                          second sentence says, "Actual drug product
   24 may call it a mechanism, a degradation           24
                                                          degradation products include those observed


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   1  above the ICH Q3B reporting threshold during     1
                                                          communities like the process chemists.
   2  storage of the drug product in the proposed      2
                                                              Q. For example, in the manufacture
    3 long-term storage conditions and primary and      3
                                                          of pharmaceutical drug substances such as
    4 secondary packaging."                             4
                                                          valsartan, process chemists are part of that
    5          That's what you were just                5
                                                          process to risk assess and evaluate based on
    6 talking about, right?                             6
                                                          science what are the potential degradation
    7     A. Yes.                                       7
                                                          products of that manufacturing process,
    8     Q. That's after the product has               8
                                                          right?
    9 been manufactured and is now going to be          9
                                                              A. Yes.
   10 stored and then it's going to be, I would        10
                                                              Q. And it's required that that
   11 assume, shipped and packaged, etcetera,          11
                                                          risk assessment be thorough and
   12 right?                                           12
                                                          scientifically based, for example, in
   13     A. Exactly.                                  13
                                                          scientific literature, correct?
   14     Q. This says that the actual drug            14
                                                                   MR. BALL: Objection.
   15 product degradation products also include        15
                                                              Foundation, calls for a legal
   16 those impurities that arise during the           16
                                                              conclusion.
   17 manufacture of the drug product, correct?        17
                                                              A. To the scope, to the scope, you
   18     A. Let's see. Well, right here,              18
                                                          know, because to the best knowledge of the
   19 yeah, that's what it says.                       19
                                                          process science, you know, chemists, you
   20     Q. And coming back now to the                20
                                                          know, at that time.
   21 paragraph second from the bottom of this         21
                                                          BY MR. SLATER:
   22 section, when it talks about "Knowledge of       22
                                                              Q. All right. We're going to come
   23 relevant degradation pathways can be used to     23
                                                          back to this, but I want to go through a
   24 help guide decisions on the selection of         24
                                                          couple things first.
                                            Page 389                                           Page 391
   1  potential degradation products to be             1
                                                                    MR. SLATER: So the next thing
   2  evaluated for mutagenicity," that's talking      2
                                                              I'd like to do, Cheryll, is go to the
    3 about an assessment that's made to evaluate       3
                                                              next document, which I guess is
    4 potential risks, so you want to look for          4
                                                              Exhibit 311, which is the 1996
    5 those potential products of the degradation       5
                                                              textbook Purification of Laboratory
    6 process, correct?                                 6
                                                              Chemicals, please.
    7          MR. BALL: Objection.                     7
                                                                    (Whereupon, Exhibit Number
    8     A. Yes.                                       8
                                                              ZHP-311 was marked for
    9          Sorry.                                   9
                                                              identification.)
   10 BY MR. SLATER:                                   10
                                                                    MR. SLATER: And this will be
   11     Q. And that's something that's               11
                                                              Exhibit 311. Thank you.
   12 evaluated when a risk assessment is performed    12
                                                          BY MR. SLATER:
   13 on a manufacturing process, correct?             13
                                                              Q. Looking at Exhibit 311, this is
   14     A. Right.                                    14
                                                          a textbook titled Purification of Laboratory
   15     Q. And it talks about, in                    15
                                                          Chemicals.
   16 performing that assessment, looking at           16
                                                                    Do you see that?
   17 degradation chemistry principles, and that       17
                                                              A. Mm-hmm.
   18 would be looking at the science, right,          18
                                                              Q. And on the next page we can see
   19 looking at the actual science of how these       19
                                                          that the date of publication was 1996.
   20 substances may degrade, correct?                 20
                                                                    Do you see that?
   21     A. Yes, look at the science and              21
                                                              A. Mm-hmm.
   22 also the knowledge, yeah, knowledge being,       22
                                                              Q. And then it says it was
   23 yeah, derived from science and, you know,        23
                                                          reprinted multiple times, 1997, 1998, 1999,
   24 known to, you know, a specific group of the      24
                                                          and 2000, correct?


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                                             Page 392                                            Page 394
   1      A.    Mm-hmm.                                 1
                                                           at least this version as of the time that
   2           MR. SLATER: Cheryll, let's now           2
                                                           this -- rephrase.
    3     scroll down to page 192, please. Down          3
                                                                A. Mm-hmm.
    4     to the bottom of the page, the last            4
                                                                Q. This textbook documents
    5     paragraph, please. Perfect.                    5
                                                           scientific knowledge as of the late 1990s and
    6     Q. I'm looking now at page 192,                6
                                                           2000 that DMF decomposes slightly at its
    7 you can see that there's an entry for              7
                                                           normal boiling point to give small amounts of
    8 "N,N-dimethylformamide," and then in               8
                                                           dimethylamine and carbon monoxide. That's
    9 parentheses "DMF."                                 9
                                                           what's stated in that first sentence,
   10          Do you see that?                         10
                                                           correct?
   11     A. Mm-hmm.                                    11
                                                                A. Mm-hmm.
   12     Q. And DMF was one of the solvents            12
                                                                     MR. BALL: Objection.
   13 used as part of the zinc chloride process,        13
                                                                Objection. Mischaracterizes the
   14 correct?                                          14
                                                                document, calls for expert testimony,
   15     A. Yes.                                       15
                                                                and vague.
   16     Q. And this indicates in this                 16
                                                                     MR. SLATER: One second, I just
   17 textbook that DMF "Decomposes slightly at its     17
                                                                want to get that down.
   18 normal boiling point to give small amounts of     18
                                                                     MR. BALL: And calls for
   19 dimethylamine and carbon monoxide."               19
                                                                speculation.
   20          Do you see that?                         20
                                                                     MR. SLATER: You said
   21     A. Okay.                                      21
                                                                mischaracterizes the document, vague,
   22     Q. And it says, "The decomposition            22
                                                                speculation.
   23 is catalyzed by acidic or basic materials, so     23
                                                                     MR. BALL: And expert
   24 that even at room temperature DMF is              24
                                                                testimony.
                                             Page 393                                            Page 395
   1  appreciably decomposed if allowed to stand        1            MR. SLATER: Expert testimony.
   2  for several hours with solid KOH, NaOH or         2  BY MR. SLATER:
    3 CaH2."                                             3      Q. That's what that sentence says,
    4            Do you see that?                        4 correct?
    5      A. Mm-hmm.                                    5      A. That's what sentence says, yes.
    6      Q. And you would agree with me                6      Q. And in terms of scientific
    7 that from the perspective of the chemistry         7 knowledge, as of the late 1990s and 2000s, it
    8 community, the potential decomposition of DMF      8 was known that DMF could decompose to give
    9 was something that was known and was known by      9 off small amounts of dimethylamine, correct?
   10 mainstream chemists, correct?                     10           MR. BALL: Objection. Calls
   11            MR. BALL: Objection. Calls             11      for expert testimony, and speculation.
   12      for speculation, expert testimony.           12      A. So there is, yeah, this
   13      A. You know, this description did            13 description here, I mean, obviously. But,
   14 not give specifics, okay. It's kind of a --       14 you know, based upon my understanding, you
   15 and also, you know, here it says, you know,       15 know, at the time of 2011 and 2012, you know,
   16 if it's allowed, you know, to be in contact       16 there is no, like, patterns or specific
   17 with solid, you know, KOH, sodium chloride,       17 literatures indicating, you know, you know,
   18 you know, you know, calcium hydride, these        18 you know, valsartan process chemistry
   19 are all very strong, you know, you know,          19 utilizing DMF or, you know, slight amount of
   20 base.                                             20 the impurity of DMF would -- you know, would
   21 BY MR. SLATER:                                    21 cause an issue.
   22      Q. It was understood, and this --            22           So the bottom line is, you
   23 we saw the dates before, that this was in         23 know, there was a knowledge gap, you know,
   24 print between 1996 and 2000, this textbook,       24 you know, at the time, and so...




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   1           Another thing is that                    1  alternative sample diluent for the test base
   2  basically, you know, everything, you know,        2  GMS.
    3 can decompose to certain, you know, degree,        3          So for that process, similar
    4 right, particularly, you know, under some --       4 things happen, right, I mean retrospectively.
    5 you know, by in contact with very strong           5 And so for the similar process, if you
    6 base, you know, like, for example, here.           6 utilize NMP, then, you know, retrospectively
    7          So when it's encountered with             7 now we know that NMP would also -- you know,
    8 this, you know, you know, you know, strong         8 during that process will decompose slightly,
    9 base, you know, this would not be, you know,       9 and then during the quenching it would form,
   10 relevant with the zinc chloride process.          10 you know, the other N-nitroso, you know,
   11          So that process during that              11 compound. I think it's called an NMBA.
   12 tetrazole formation, you know, you know, you      12          So, you know, basically, you
   13 know, particular step during the reaction, it     13 know, you know, it -- you know, now
   14 did not use such a strong acid -- I'm sorry,      14 retrospectively, you know, looking at the --
   15 base, you know, KOH or, you know, sodium          15 you know, this issue and certainly these
   16 hydride or whatever.                              16 minor decomposition of the solvent, you know,
   17 BY MR. SLATER:                                    17 did not fall into the knowledge base, you
   18     Q. You said something -- well,                18 know, of all of these process chemists.
   19 rephrase.                                         19      Q. When you said this information
   20          As part of the risk assessment,          20 about DMF decomposition to give off
   21 the scientific analysis of the process            21 dimethylamine was not within the knowledge
   22 required that the potential decomposition of      22 base specific to valsartan manufactured by
   23 DMF would be taken into account in the risk       23 ZHP with the zinc chloride process, you were
   24 assessment for the zinc chloride process,         24 referring to the knowledge base of ZHP,

                                             Page 397                                            Page 399
   1  correct?                                          1
                                                       correct?
   2       A. Well, what I'm just saying is          2     A. What I'm saying is it's not
    3 that at the time of this process development,  3 only ZHP. You know, anyone utilizing, you
    4 it appears, you know, this minor               4 know, the same or similar process, you know,
    5 decomposition did not fall into the knowledge  5 they had the same issue, now looking back.
    6 base, you know, during that particular time    6          And also, you know, you know,
    7 period.                                        7 you know, in our process as well as, you
    8      Q. When you say "didn't fall into         8 know, other, you know, you know, companies'
    9 the knowledge base," you mean didn't fall      9 process, they have all been submitted, you
   10 into the knowledge base of the people at ZHP  10 know, numerous times, you know, to the
   11 performing the risk assessment, correct?      11 regulatory agencies, you know, you know,
   12      A. It's not only the ZHP, you            12 different countries.
   13 know, because I believe that, you know, you   13          So prior to, you know,
   14 know, this particular process is also         14 June 2018, you know, all of those, you know,
   15 utilized, you know, by other, you know,       15 process chemists, you know, after, you know,
   16 companies.                                    16 their regulatory review, they all get
   17           And also I would utilize -- you     17 approved, you know, during that period.
   18 know, I would like to point out, you know,    18          So basically, you know, I would
   19 some other companies, they use, you know, the 19 say, you know, it's fair to say, like, you
   20 same zinc chloride process, but instead of    20 know, from FDA's, you know, you know, some of
   21 utilizing, you know, DMF, you know, they use  21 the document says, you know, during that time
   22 another nitrogen-containing solvent, which is 22 period the industry as well as regulators,
   23 NMP, you know, I guess we have discussed NMP 23 you know, had a knowledge gap.
   24 yesterday, you know, as like, you know, an    24     Q. Certainly in the chemistry


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   1                                                  1know, from a process chemistry perspective in
      community it was known that DMF could
   2                                                 2 general, is still a very stable solvent. It
      decompose, give off small amounts of
    3                                                3 all depends upon, you know, a particular
      dimethylamine, and that this could happen
    4                                                4 combination of -- you know, of different
      either in acidic or basic environments,
    5                                                5 facts, right?
      correct?
    6                                                6           So with regard to the zinc
                That's what it says right
    7                                                7 chloride, you know, you know, process, either
      there, right?
    8                                                8 utilizing the DMF or like other company
                MR. BALL: Hold on. Objection.
    9                                                9 utilizing, you know, NMP, only when you, you
          Vague, calls for speculation, and
   10                                               10 know, in that specific, you know, you know,
          calls for expert testimony.
   11                                               11 particular combination, now we know
          A. You know, basically, again, you
   12                                               12 retrospectively, you know, that very tiny or
      know, as I said, here it says, you know, in
   13                                               13 low amount of decomposition would cause, you
      context with a, you know, strong base, it
   14                                               14 know, this problem. But otherwise, you know,
      will -- you know, it will decompose.
   15                                               15 it still would be fine.
                A lot of things, you know, a
   16                                               16           I mean, like our, you know,
      lot of organic solvents, you know, if you
   17                                               17 newly, you know, improved process, right?
      treat it with strong base, you know, it would
   18                                               18 Once we, you know, found the root cause and
      decompose. And, you know, it's all based
   19                                               19 then we do the separate quenching, so we
      upon, you know, the context.
   20                                               20 still using DMF right now.
      BY MR. SLATER:
   21                                               21           And, you know, as I indicated,
          Q. This says that the
   22
      decomposition of DMF is catalyzed by acidic 22 you know, yesterday, our valsartan now have,
   23
      or basic materials, and you agree with me it 23 you know, undetectable, you know, level of
   24
      can happen due to acidic or basic materials, 24 NDMA. You know, the detection limit is only
                                           Page 401                                          Page 403
   1   correct?                                       1
                                                       5 ppb, which is, you know, 60 times lower
   2           MR. BALL: Objection.                   2
                                                       than the current FDA's requirement, which is
    3     Mischaracterizes his earlier               3
                                                       300 ppb.
    4     testimony, and mischaracterizes the        4
                                                           Q. What is CaH2?
    5     document.                                  5
                                                           A. Oh, that's calcium hydride.
    6     A. The sentence just says quite,           6
                                                           Q. Is that an acid?
    7 you know, vaguely, just said, you know, by     7
                                                           A. No, that's a base. That's a
    8 acidic or basic, right.                        8
                                                       very strong base.
    9          So it gives examples, specific        9
                                                           Q. What is NaOH?
   10 examples of base, but here it didn't give     10
                                                           A. Sodium hydrochloride. Yeah,
   11 specific examples of acids, right? I don't    11
                                                       that's a very basic, you know, you know, you
   12 see any acids being mentioned here.           12
                                                       know, base. Yeah.
   13 BY MR. SLATER:                                13
                                                                 I mean, I guess if somebody --
   14     Q. Our jumping-off point to this          14
                                                       I mean, like when I first learned chemistry,
   15 was the requirement under the ICH standard to 15
                                                       sodium, you know, hydrochloride is probably
   16 apply degradation chemistry principles in     16
                                                       the first base that I learned.
   17 order to perform a risk assessment. And       17
                                                           Q. Coming back to my question,
   18 since ZHP was going to use DMF in the zinc    18
                                                       in -- rephrase.
   19 chloride process, they needed to do that      19
                                                                 In performing its risk
   20 analysis with regard to DMF, correct?         20
                                                       assessment, ZHP was required to evaluate by
   21     A. You know, at the time of the           21
                                                       applying degradation chemistry principles to
   22 process development, okay, DMF was considered 22
                                                       the potential degradation of DMF since it was
   23 to be a very stable solvent, okay? And as a   23
                                                       going to be used in the zinc chloride
   24 matter of fact, you know, DMF is still, you   24
                                                       process, correct?


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   1           MR. BALL: Objection. Vague,             1
                                                       then now realize, you know, oh, yeah, if you
   2       and asked and answered.                   2 were to connecting these dots, you know,
    3      A. Based upon -- you know, based          3 together at the time, you know, you may, you
    4 upon what I know, okay, the original, you      4 know, you know, avoid, you know, that issue.
    5 know, you know, process chemist, okay, they    5          But, you know, but that's also,
    6 considered or they utilized this               6 you know, part of the, you know, knowledge
    7 degradation -- you know, you know, you know,   7 base, right. Not only we talking about the
    8 considering the degradation chemistry.         8 individual pieces knowledge here and there,
    9          But the minor degradation of          9 you know, also you need to, you know,
   10 DMF, it was just not falling to, you know,    10 making -- you know, you know, connecting the
   11 the knowledge base. Not only with ZHP, as I   11 dots.
   12 indicated; also with other companies utilize  12          So that's another level, you
   13 the same or similar process.                  13 know, of the knowledge. And, you know, so
   14          So what that's supposed to mean      14 that's what I, you know, meant, you know,
   15 is that during that particular time period,   15 specifically with regard to this issue, you
   16 you know, within the process chemist, you     16 know. It is -- nobody, you know, throughout
   17 know, you know, circle, this was not a        17 industry as well as the regulator, you know,
   18 concern, or this knowledge, you know, was not 18 at the time, you know, were able to
   19 there.                                        19 connecting all the dots.
   20          So that's what I meant, you          20 BY MR. SLATER:
   21 know. There was a knowledge gap, you know, 21         Q. And my questions are specific
   22 as indicated by, you know, some of those      22 to the people who worked at ZHP when the zinc
   23 FDA's training material.                      23 chloride process was being developed. Those
   24 BY MR. SLATER:                                24 people who were in charge of that process

                                            Page 405                                             Page 407
   1      Q. There was no knowledge gap                1  needed to perform a risk assessment that
   2  regarding the potential decomposition of DMF     2  included evaluating the potential
    3 to give off dimethylamine. That was               3 decomposition of DMF as part of that process,
    4 something that was known, and I'm showing you     4 it's something that had to be considered,
    5 a mainstream textbook that says it. That was      5 correct?
    6 no secret, right?                                 6      A. As I told you, you know, also
    7          MR. BALL: Objection.                     7 if you look at some of the FDA's, you know,
    8     Argumentative, speculative, and               8 you know, released documents, you need to
    9     mischaracterizes his testimony.               9 have that knowledge, or you need to have the
   10     A. Look, chemistry as well as all            10 knowledge, you know, to connecting, you know,
   11 of the other sciences, I mean, it's -- you       11 those dots, you know, otherwise, you know,
   12 know, it has enormous details in terms of the    12 you would have a knowledge gap.
   13 knowledge, okay. And now, you know, we           13          Once you had that knowledge
   14 looking back, you know, the critical thing is    14 gap, you -- you know, it will not lead you to
   15 that, you know, someone, or a group of people    15 that direction. But as I said, in general
   16 or regulators, you know, you know, need to       16 during the, you know, process development,
   17 connecting those dots, they scattered, you       17 ZHP's, you know, process chemists look at
   18 know, you know, here and there. Otherwise,       18 the, you know, the degradation issues.
   19 you know, yeah, I mean these piece of            19          But as I said, you know, due to
   20 knowledge, you know, could be here and there,    20 the knowledge gap, it just didn't lead them,
   21 right.                                           21 you know, to this particular issue.
   22          I mean, when we, you know, come         22      Q. Did you just say that ZHP's
   23 up with a solution or finding, you know,         23 process chemists looked at the degradation
   24 people, you know, very often can go back and     24 issues as part of the process change?




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   1       A. Well, based upon, you know, you           1
                                                               A. As I said, I cannot answer that
   2  know, you know, maybe some of the documents,      2
                                                           question, because I was not there, you know,
    3 it's probably there. But although I, you           3
                                                           I'm not a process chemist.
    4 know, didn't have time, you know, you know,        4
                                                           BY MR. SLATER:
    5 you know, to go through them in very -- you        5
                                                               Q. In your role as a 30(b)(6) --
    6 know, in full details.                             6
                                                                   MR. BALL: Hold on, hold on.
    7      Q. You have no idea if that was               7
                                                               Either you've seen it or you haven't
    8 looked at, right?                                  8
                                                               seen it.
    9      A. I had some idea, but I said                9
                                                               A. I haven't seen it, yeah.
   10 I -- you know, I'm not a process chemist, you     10
                                                                   MR. BALL: Yeah, that's fine.
   11 know, so it's better to be answered by a          11
                                                           BY MR. SLATER:
   12 process chemist.                                  12
                                                               Q. And coming back to the ICH
   13      Q. Well, with regard to the root             13
                                                           guideline, evaluation of the degradation
   14 cause investigation which would have included     14
                                                           chemistry principles would have required an
   15 evaluating how this happened, did you see         15
                                                           evaluation of scientific literature or
   16 anything indicating that anybody at ZHP           16
                                                           publications to try to answer that question,
   17 considered the potential decomposition of the     17
                                                           right?
   18 DMF to yield dimethylamine as part of the         18
                                                                   MR. BALL: Objection.
   19 process? Did you see anything indicating          19
                                                               Mischaracterizes the guideline.
   20 that anybody thought about that at all at         20
                                                               A. Yeah, the guideline has that
   21 ZHP?                                              21
                                                           information. Yeah.
   22      A. Basically as I already said,              22
                                                                   MR. SLATER: Let's take this
   23 you know, due to the knowledge gap this           23
                                                               exhibit down and go to Exhibit 197.
   24 particular issue was not considered.              24
                                                                   MR. BALL: Why don't we take --
                                             Page 409                                            Page 411
   1      Q. And that knowledge gap would               1       we've gone about an hour 15 since our
   2  include a lack of research in either              2       last break --
    3 textbooks or published literature, in the          3           MR. SLATER: We can take this
    4 scientific literature, to evaluate potential       4      down and take a break now.
    5 decomposition of DMF? It wasn't researched         5           MR. BALL: Okay.
    6 at all, correct?                                   6           MR. SLATER: Take this down,
    7           MR. BALL: Objection.                     7      and let's go off the record.
    8     Foundation, speculation.                       8           MR. BALL: Okay. Great.
    9           Go ahead and answer if you can.          9      Thanks.
   10     A. Yeah, I think that's -- that's             10           THE VIDEOGRAPHER: The time
   11 a speculation. You know, that process was         11      right now is 9:46 a.m. We're now off
   12 developed very early on, you know. I was not      12      the record.
   13 there, I am not a process chemist, so I           13           (Whereupon, a recess was
   14 cannot speculate.                                 14      taken.)
   15 BY MR. SLATER:                                    15           THE VIDEOGRAPHER: The time
   16     Q. You've seen nothing indicating             16      right now is 10:04 a.m. We're back on
   17 that anybody at ZHP made any effort to look       17      the record.
   18 at any scientific literature or publications      18 BY MR. SLATER:
   19 at all to evaluate potential decomposition of     19      Q. On the screen we have
   20 DMF, you've seen nothing indicating anyone        20 Exhibit 197, which is an article that was
   21 looked at that, correct?                          21 published in scientific literature in 2009
   22           MR. BALL: Objection.                    22 titled "N,N-Dimethylformamide: much more than
   23     Compound.                                     23 a solvent."
   24           Go ahead and answer if you can.         24           Do you see that?


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   1                                                   1   Q. Exhibit 2 -- rephrase.
         A.     Mm-hmm.
   2                                                 2           Exhibit 211 is an article that
               MR. SLATER: Let's go, if we
    3                                                3 was published in 2010 in the Journal of
          could, to page 8315, the right-hand
    4                                                4 Physical Chemistry, and the title is
          column, 3. Excellent.
    5                                                5 "Theoretical Investigation of
          Q. Heading Number 3 says, "Source
    6
      of carbon monoxide," and then it says, "DMF 6 N-Nitrosodimethylamine Formation from
    7                                                7 Nitrosation of Triethylamine."
      decomposes slightly at its boiling point to
    8
      afford dimethylamine and carbon monoxide, 8                Do you see that?
    9                                                9     A.     Mm-hmm.
      this reaction occurring even at room
   10                                               10     Q. And it looks like this was
      temperature in the presence of some acidic or
   11                                               11 submitted in 2009 and published in 2010,
      basic materials. This observation has led to
   12                                               12 correct?
      the use of DMF as a carbonylating agent."
   13                                               13     A. Yes.
               Do you see that?
   14                                               14     Q. And the people who published
          A. Yes.
   15                                               15 this article, it looks like Zhi Sun, Yong
          Q. So this is another example of
   16                                               16 Dong Liu, and Ru Gang Zhong from the College
      an article in the published literature
   17                                               17 of Life Science & Bioengineering, Beijing
      setting forth that DMF could potentially
   18
      decompose and yield dimethylamine, correct? 18 University of Technology in Beijing, correct?
   19                                               19     A. Yes.
          A. This looks like exactly the
   20                                               20     Q. So this article was actually
      same wording, I mean the first one that I'm
   21                                               21 published by some people in China, correct?
      seeing, right, in that first reference.
   22                                               22     A. Mm-hmm, looks like, yes.
               So may I take a look at the
   23                                               23     Q. Let's go down now a little bit
      reference 32? I just want to make sure what
   24                                               24 in the Introduction, and looking at the
      this reference is.
                                            Page 413                                           Page 415
   1      Q. Sure. I think you're probably             1  second paragraph it says -- please, yeah.
   2  right, actually.                                 2           Looking at the second paragraph
    3     A. 32. Yeah, Purification of                  3 under the Introduction, it says in part,
    4 Laboratory Chemicals, 19 -- well, it's 1966.      4 "Because dialkylnitrosamines are of great
    5 Okay, yeah, that's -- looks like that's the       5 interest in carcinogenesis, much attention
    6 same one, yes.                                    6 has been focused on their formation
    7          MR. SLATER: Let's stay on that           7 mechanism, especially from secondary amines."
    8     page, Cheryll.                                8          Do you see that?
    9     Q. So reference 32 is to the                  9      A. Mm-hmm.
   10 textbook that we were talking about a moment     10      Q. Is dimethylamine a secondary
   11 ago, Exhibit 311, except this is a citation      11 amine?
   12 to the version of that textbook published in     12      A. Yes.
   13 1966, correct?                                   13      Q. "Consequently, NDMA is
   14     A. Looks like, yes, mm-hmm. It               14 generally believed to be formed from the
   15 looks like the first version, right?             15 reactions of dimethylamine (DMA) and
   16     Q. I don't know.                             16 nitrosating agents, such as N2O3, N204, and
   17     A. Probably, yeah.                           17 ONCl."
   18     Q. So this article is showing that           18          Then it begins, "In addition to
   19 a textbook actually talked about the             19 secondary amines, however, a wide variety of
   20 decomposition of DMF to yield dimethylamine      20 tertiary amines have also been demonstrated
   21 going back as far as 1966, correct?              21 to react with nitrous acid to produce
   22     A. Yes.                                      22 N-nitrosamines in aqueous solution."
   23          MR. SLATER: Let's take that             23      A. Okay.
   24     down now, and then go to Exhibit 211.        24      Q. This is talking about the


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   1  process whereby a nitrosating agent such as,      1       The idea that dimethylamine and
   2  for example, nitrous acid would be a           2 nitrous acid could react to form NDMA, that
    3 nitrosating agent, correct?                    3 was something that a process chemist working
    4      A. Yes.                                   4 at a pharmaceutical company would be expected
    5      Q. Can react with diethylamine to         5 to know as of 2011, correct?
    6 create NDMA, correct?                          6          MR. BALL: Objection.
    7      A. Mm-hmm.                                7     Speculative, and calls for expert
    8      Q. And that's actually what               8     testimony.
    9 happened with the zinc chloride process to     9     A. As I said, it's only, you know,
   10 create the NDMA, correct?                     10 when somebody connecting the dots together,
   11      A. Yeah, retrospectively we know         11 you know, linking those two things together.
   12 that's the case.                              12          First of all, you know, the
   13      Q. Certainly you would agree with        13 minor   decomposition    of DMF would give small
   14 me that in performing the risk assessment at  14 amount of dimethylamine.
   15 the outset with the zinc chloride process,    15          Second of all, you know, you
   16 the process chemists at ZHP would have known 16 have to also link, you know, its reaction
   17 through degradation chemistry principles and  17 with the nitrous acid. So it's basically,
   18 the principles here in this article that NDMA 18 you know, you know, you need, or someone at
   19 could form if they had gone through           19 the time, you know, need to connecting the
   20 literature, as we just did, correct?          20 dots, right?
   21          MR. BALL: Objection.                 21          I mean, a lot of things, you
   22      Speculative.                             22 know, looking retrospectively it may become,
   23      A. I mean, this is basically, you        23 you know, much more obvious. But at the
   24 know, the same kind of question, I mean, you  24 time, as I indicated before, you know, the

                                             Page 417                                            Page 419
   1  already asked before.                             1
                                                           minor decomposition of DMF, it was just not,
   2           You know, so my answer, you              2
                                                           you know, you know, falling into the
    3 know, I already, you know, gave to you is          3
                                                           knowledge base.
    4 that, you know, due to, you know, the              4
                                                           BY MR. SLATER:
    5 knowledge gap, you know, at the time, right?       5
                                                               Q. If ZHP's process team --
    6          And also I indicate the                   6
                                                           rephrase.
    7 knowledge gap is not only, you know, piece         7
                                                                     If the people at ZHP had
    8 of, you know, a particular knowledge, also a       8
                                                           performed a proper risk assessment and
    9 lot of times you have to connecting, you           9
                                                           actually looked at the scientific literature,
   10 know, the thoughts together.                      10
                                                           this article was there to be found in 2011,
   11          So, you know, like, as I said,           11
                                                           correct?
   12 again, like FDA's -- you know, some of those      12
                                                               A. Again, as I indicated, you
   13 training materials, you know, they indicate       13
                                                           know, chemistry is a vast, you know, you
   14 at the time industry and also regulator, you      14
                                                           know, you know -- as a science contains vast,
   15 know, had that knowledge gap.                     15
                                                           you know, you know, knowledge base.
   16 BY MR. SLATER:                                    16
                                                                     And as I indicated also, you
   17      Q. This article, as we just went             17
                                                           know, a lot of things looking back, you know,
   18 through a moment ago, was actually written by     18
                                                           you know, people would then start to
   19 and submitted by people in China in 2009,         19
                                                           connecting all the dots. So the knowledge
   20 correct?                                          20
                                                           base is not only, you know, you know, the
   21      A. Yeah, looks like. Yeah,                   21
                                                           individual pieces, you know. Also somebody
   22 mm-hmm.                                           22
                                                           at some time or at the right time need to
   23      Q. There was nothing -- well,                23
                                                           connecting those dots.
   24 rephrase.                                         24
                                                                     So another thing is, as I


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   1  indicated before, you know, not only, you         1  commercialized drugs, you know, you know, you
   2  know, ZHP, but also other company utilizing,      2  know, being -- having the issue of NDMA,
    3 you know, the same or similar, you know, you       3 right.
    4 know, a certain process, a similar case            4          As I mentioned yesterday, we
    5 being -- you know, utilizing NMP as the            5 have seen issues for NDMA in, you know,
    6 reaction solvent.                                  6 ranitidine, you know, and as I said that, you
    7          You know, those processes, they           7 know, ranitidine has become a commercialized
    8 were all commercialized. They were all             8 product, I think as early as 1981.
    9 previously submitted to various regulatory         9          And, you know, you know, these
   10 agencies, including European agencies, you        10 companies, you know, you know, this
   11 know, the FDAs.                                   11 particular product, you know, it was
   12          And so at the time, you know,            12 developed by, you know, this very well-known,
   13 again, you know, at these agencies, you know,     13 you know, GlaxoSmithKline in the company.
   14 there are, you know, great numbers of             14          And also during the course of
   15 capable, you know, scientists.                    15 this very long history, we also see other
   16          So, you know, it appears now             16 companies, you know, including Sanofi, you
   17 retrospectively it also did not -- you know,      17 know, which is, you know, also another very
   18 you know, I mean, they obviously also, you        18 famous, you know, France-based multinational
   19 know, seem to have, you know, the knowledge       19 pharmaceutical company, right, they also
   20 gap particularly, you know, connecting the        20 manufacture, you know, you know, you know,
   21 dots.                                             21 ranitidine for quite a few years.
   22     Q. When you refer to "connecting              22          You know, I'm sure, you know,
   23 the dots" -- rephrase.                            23 their scientists as well as, you know, the
   24          A risk assessment requires a             24 early, you know, you know, GSK or, you know,

                                             Page 421                                            Page 423
   1  scientific analysis to connect the dots.          1  French, you know, SmithKline at the time,
   2  That's the point of a risk assessment, to do      2  they all did a, you know, risk assessment
    3 a thorough scientific analysis and connect         3 based on the best knowledge at that time.
    4 the dots, correct?                                 4          But still, you know, this issue
    5     A. The thorough scientific                     5 remained, you know, unknown until, you know,
    6 evaluation would be limited at any given           6 these particular events become known, you
    7 time, okay, to a particular, you know, set of      7 know, to, you know, everybody.
    8 knowledge.                                         8     Q. Am I correct that the only
    9          I mean, you know, you basically           9 company that was selling ZHP valsartan API --
   10 just, you know, cannot, you know, you know,       10 rephrase.
   11 go through, you know, every single details.       11          Am I -- rephrase.
   12 I mean, it's just not practical, you know.        12          ZHP was selling its zinc
   13          Unless -- unless, like, if               13 chloride process valsartan -- rephrase.
   14 something happened, you know, for example         14          ZHP developed the zinc chloride
   15 like these particular events, right? Now          15 process in order to sell zinc chloride
   16 everybody, you know, you know, start to           16 process valsartan for profit by ZHP. That
   17 connecting the dots, and then, you know,          17 was the purpose of that, correct?
   18 regulatory agencies, you know, also require       18          MR. BALL: Objection. Outside
   19 every company to do, you know, you know, you      19     the scope.
   20 know, you know, the risk assessment,              20     A. Again, you know, first of all,
   21 particularly with regard to the nitrosamine,      21 you know, I'm not a process chemist, okay,
   22 you know, you know, potential risk, right.        22 but if you want to ask, you know, my
   23          And then, you know, now we see           23 personal, you know, you know, perspective,
   24 more and more, you know, you know, different      24 you know, I might give you one, okay?




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   1           Every -- first of all, every             1      right now is 10:23 a.m. We're now off
   2  commercial process, you know, you need to         2      the record.
    3 consider costs, right? Result in effective         3          (Pause.)
    4 costs, you know, we would have had a lot of        4          THE VIDEOGRAPHER: The time
    5 issues, right?                                     5     right now is 10:23 a.m. We're back on
    6          And the reason, you know, you             6     the record.
    7 know -- I mean, the United States has the          7 BY MR. SLATER:
    8 best, you know, generic drug company or            8     Q. We're back in Exhibit 213, the
    9 industry, you know, you know, in the world,        9 November 29, 2018 warning letter from the
   10 you know. That has bring down, you know, you      10 FDA.
   11 know, the cost to the patients, you know,         11          MR. SLATER: Cheryll, would you
   12 tremendously.                                     12     go to page 4 of that document, please?
   13          So, you know, controlling                13     Middle of the page, please, a little
   14 costs, you know, you know, is something every     14     further down. Okay.
   15 company, you know, whether, you know, it's a      15     Q. This is the FDA's commentary on
   16 generic drug company or a multinational           16 this subject we've been discussing, and it
   17 pharmaceutical company, you know, everybody,      17 says, "You also failed to evaluate the need
   18 you know, you know, doing that, right.            18 for additional analytical methods to ensure
   19          And also by controlling costs a          19 that unanticipated impurities were
   20 company would also, you know, share, you          20 appropriately detected and controlled in your
   21 know, those savings, you know, with patients,     21 valsartan API before you approved the process
   22 right?                                            22 change."
   23          So -- and another thing is, you          23          So I'm going to stop there.
   24 know, the fundamental, you know, criteria is      24 They're talking about the risk assessment

                                             Page 425                                            Page 427
   1  that you need to, you know, you know, at the      1  process, correct?
   2  same time you're controlling the costs, you       2      A. Let me see.
    3 need to also develop a product, right, which       3          MR. BALL: Objection. Calls
    4 is comparable -- you know, like during the         4     for speculation.
    5 process change, you know, which is comparable      5     A. It looks like so, mm-hmm.
    6 to the previous, you know, product. So based       6 BY MR. SLATER:
    7 upon my limited knowledge, you know, at the        7     Q. Then the FDA says, "You are
    8 time of the process development during that        8 responsible for developing and using suitable
    9 evaluation.                                        9 methods to detect impurities when developing,
   10          So the overall quality, you              10 and making changes, to your manufacturing
   11 know, of this zinc chloride process was           11 processes. If new or higher levels of
   12 comparable, you know, to the previous ones.       12 impurities are detected, you should fully
   13          MR. SLATER: Cheryll, let's go            13 evaluate the impurities and take action to
   14     to Exhibit 213, please. 213.                  14 ensure the drug is safe for patients."
   15          MR. BALL: Adam, can we go off            15          You agree with what the FDA
   16     for just one second while I go ask the        16 said in terms of what the obligations of ZHP
   17     people out in the hall to be a little         17 were? That's an accurate statement, correct?
   18     bit more quiet?                               18          MR. BALL: Objection. Calls
   19          MR. SLATER: Sure.                        19     for a legal conclusion.
   20          MR. BALL: Thank you. I'll be             20     A. The last sentence -- sorry,
   21     right back.                                   21 yeah.
   22          MR. SLATER: Let's go off the             22          The last sentence said, "If new
   23     record.                                       23 or higher level of impurity are detected."
   24          THE VIDEOGRAPHER: The time               24 But this was not the case with NDMA, because




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   1  as I indicated, you know, the residual           1  know, I said during the time of the process
   2  solvent method is not capable to detect NDMA.    2  change, you know, no one, you know, the
    3 BY MR. SLATER:                                    3 industry, also the regulatory agencies, you
    4      Q. GC-MS was capable of detecting            4 know, you know, had that knowledge gap.
    5 and identifying NDMA if you thought about it      5          You know, if at the time, you
    6 and looked for it, right?                         6 know, people already knew, like today, yeah,
    7      A. The GC --                                 7 everybody will go that extra mile and -- to,
    8           MR. BALL: Hold on, hold on.             8 you know, look for it. But, you know, that
    9           Objection. Calls for expert             9 was just not the case during that time.
   10      testimony, argumentative, and               10 BY MR. SLATER:
   11      mischaracterizes his testimony.             11      Q. Looking now at the third full
   12           Go ahead.                              12 paragraph on page 4 of this FDA warning
   13      A. I think I, you know, answered            13 letter of November 29, 2018, the FDA stated,
   14 it yesterday. The GC-MS method are based         14 "Your response states that predicting NDMA
   15 upon the ZHP's GC-FID method, okay, is still     15 formation during the valsartan manufacturing
   16 not, you know, you know, as -- is -- it's        16 process required an extra dimension over
   17 still not adequately to detect NDMA as -- you    17 current industry practice, and that your
   18 know, as a suitable, you know, analytical        18 process development study was adequate. We
   19 control method.                                  19 disagree. We remind you that common industry
   20 BY MR. SLATER:                                   20 practice may not always be consistent with
   21      Q. If ZHP had been looking for              21 cGMP requirements and that you are
   22 NDMA or any nitrosamines with GC-MS -- well,     22 responsible for the quality of drugs you
   23 I'll withdraw that.                              23 produce."
   24           The problem ultimate -- well,          24          Do you see that?
                                            Page 429                                            Page 431
   1  actually I want to withdraw that and actually    1
                                                               A. Yeah, I see that, mm-hmm.
   2  go back to my question.                          2
                                                               Q. And you understand that ZHP at
    3          You agree with me that ZHP was           3
                                                          all times was required to comply with cGMP
    4 responsible during the process change to          4
                                                          requirements with regard to its process for
    5 develop and use suitable methods to detect        5
                                                          manufacturing its valsartan that it was going
    6 impurities when developing and making changes     6
                                                          to sell. You agree with that, correct?
    7 to the manufacturing process, correct?            7
                                                                    MR. BALL: Objection. Calls
    8          MR. BALL: Objection.                     8
                                                               for a legal conclusion.
    9     Mischaracterizes his earlier                  9
                                                               A. To me it's very obvious, you
   10     testimony.                                   10
                                                          know, this whole paragraph is a
   11     A. You know, as I -- as I said, I            11
                                                          retrospective, you know, statement. So going
   12 already answered this question before, you       12
                                                          back to that, you know, period, you know,
   13 know, because there is, you know, like FDA,      13
                                                          we -- as I said, you know, we did all what we
   14 you know, you know, the statement says, you      14
                                                          can do, and we filed to the various
   15 know, it said if new or higher level of          15
                                                          regulatory agencies like everybody else. And
   16 impurity are detected.                           16
                                                          this process, you know, was approved by
   17          But as I said, you know, the            17
                                                          multiple, you know, regulatory agencies,
   18 GC-FID method, which is the residual solvent     18
                                                          including the FDA.
   19 method and also is a registered, you know,       19
                                                                    And also, as I said, you know,
   20 method, okay, it just not capable, you know,     20
                                                          I indicated that, you know, in some of the
   21 detecting NDMA.                                  21
                                                          most recently released FDA training material,
   22          As far as, you know, you know,          22
                                                          you know, FDA, you know, basically
   23 go back to the, you know, the very same, you     23
                                                          acknowledged, you know, the knowledge gap
   24 know, point, you know, right, basically, you     24
                                                          during the previous time by both industry as


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   1                                                    1
      well as regulators.                              you produce."
   2                                                 2
      BY MR. SLATER:                                            You agree with that statement,
    3                                                3
          Q. So is it ZHP's position that              correct?
    4
      other companies or regulatory agencies are at 4           MR. BALL: Objection. Calls
    5                                                5
      fault for letting ZHP manufacture valsartan          for a legal conclusion.
    6                                                6
      with the zinc chloride process and not                    Go ahead.
    7                                                7
      adequately evaluate and realize that NDMA            A. Yes. Everybody, or every
    8                                                8
      could be produced? Are you saying it's           manufacturer will be responsible to the
    9                                                9
      someone else's fault and it's not ZHP's          extent, you know, you know, with their best
   10                                               10
      responsibility?                                  efforts at the time.
   11                                               11
               MR. BALL: Objection.                    BY MR. SLATER:
   12                                               12
          Foundation, mischaracterizes his                 Q. And ZHP is -- rephrase.
   13                                               13
          earlier testimony.                                    ZHP is also responsible for its
   14                                               14
          A. It's clearly not what I said              failure to disclose to the FDA in 2017 when
   15                                               15
      before. Okay. What I'm saying or what I          it knew at the latest -- rephrase. Let me --
   16                                               16
      have been saying is during that particular       let me reask the question.
   17                                               17
      time the industry as well as the regulatory               And ZHP as of July 2017 at the
   18
      agency had that knowledge gap. Okay. And 18 latest, when it knew that NDMA had been
   19
      also, you know, science, you know, is making 19 produced as part of the zinc chloride process
   20                                               20
      progress all the time.                           and was an impurity in its valsartan, at that
   21                                               21
      BY MR. SLATER:                                   point ZHP had a responsibility to tell the
   22                                               22
          Q. Are you -- rephrase.                      FDA, right?
   23                                               23
               Speaking for ZHP right now, is                   MR. BALL: Objection.
   24                                               24
      ZHP saying ZHP is not responsible for its            Foundation, calls for a legal
                                             Page 433                                            Page 435
   1  failure to adequately assess the risks, but       1      conclusion.
   2  somebody else is responsible for ZHP's            2      A. I think I -- you know, as I
    3 failures?                                          3 told you before, at the time it was, you
    4      A. Again --                                   4 know, it was a guess, you know, by a single,
    5          MR. BALL: Objection.                      5 you know, chemist.
    6      Mischaracterizes his testimony.               6 BY MR. SLATER:
    7      A. Again, you know, this is not               7     Q. That single chemist was
    8 what I'm saying, okay.                             8 Jinsheng Lin who worked for you, right?
    9 BY MR. SLATER:                                     9     A. He was in my department, yes.
   10      Q. Well, who's responsible for the           10     Q. He's still in your department,
   11 inadequate risk assessment? Is it ZHP, or is      11 right?
   12 it someone else?                                  12     A. He still is, yes.
   13          MR. BALL: Objection.                     13     Q. Did Jinsheng Lin tell you --
   14      Foundation and compound.                     14 rephrase.
   15      A. When FDA says, you know, there            15         Did -- rephrase.
   16 was a knowledge gap at the time for both          16         Did Jinsheng Lin show you the
   17 industry as well as for the regulatory            17 chromatograms that he used to identify the
   18 agencies, you tell me who would be                18 NDMA in the valsartan?
   19 responsible.                                      19         MR. BALL: Objection.
   20 BY MR. SLATER:                                    20     Foundation.
   21      Q. If you look at this letter from           21     A. As I told you, you know, in
   22 the FDA in November of 2018, the last part of     22 that e-mail clearly, you know, he's just
   23 that paragraph we've been talking about says,     23 making a -- you know, a guess or, you know, a
   24 "You are responsible for the quality of drugs     24 projection, you know.




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                                            Page 436                                            Page 438
   1  BY MR. SLATER:                                   1  BY MR. SLATER:
   2      Q. Well, actually, what he said in           2      Q. Didn't you tell me earlier that
    3 that e-mail was that NDMA occurs in valsartan     3 one of the benefits -- well, rephrase.
    4 when it's quenched with sodium nitrite, which     4          Didn't you tell me earlier you
    5 was an accurate statement. It was                 5 have to take into account the cost?
    6 scientifically accurate, correct?                 6     A. Oh, yeah, yeah. Yeah, every
    7          MR. BALL: Objection. Vague,              7 process, you know, development, yeah, cost,
    8     and mischaracterizes the document.            8 you know, is a factor to be, you know, to be
    9     A. As I said, again, you know,                9 considered.
   10 this was his projection.                         10          But also that I mentioned, you
   11          MR. SLATER: Cheryll, let's go,          11 know, very clearly, you know, that the
   12     if we could, to that other document          12 fundamental, you know, you know, you know,
   13     you started to pull up. I don't              13 factor that need to be considered is, you
   14     remember what it was previously marked       14 know, the product produced by the new process
   15     as, if you could tell us. The                15 need to be comparable with regard to the
   16     establishment inspection report.             16 registered specifications.
   17          MS. CALDERON: I don't think it          17     Q. Well, let's look at --
   18     was previously marked.                       18 rephrase.
   19          MR. SLATER: Oh, really? Well,           19          Looking at the middle paragraph
   20     we can mark it again. What are we up         20 on this page, there is a statement in the
   21     to? I'm not the guy to know that             21 middle after the second line -- rephrase.
   22     answer.                                      22          Looking at the center --
   23          (Whereupon, Exhibit Number              23 rephrase.
   24     ZHP-312 was marked for                       24          Looking at the paragraph in the
                                            Page 437                                            Page 439
   1                                                   1
          identification.)                          middle of the page, the second sentence says,
   2                                              2
      BY MR. SLATER:                                "Mr. Jun Du, Executive Vice President,
    3                                             3
          Q. Looking at Exhibit 312, this is        apologized and stated the change control
    4                                             4
      the July 23, 2018 Establishment Inspection    should have stated the purpose of the change
    5                                             5
      Report.                                       was to save money."
    6                                             6
               You're familiar with this                A. I'm sorry. Where it is?
    7                                             7
      document, right?                                  Q. Sure.
    8                                             8
          A. I probably at least read                        Let's do this. Looking at the
    9                                             9
      through this, yeah.                           carryover paragraph at the top of the page,
   10                                            10
               MR. SLATER: Let's go, if we          you can see that it's discussing, about four
   11                                            11
          could, to page 25, Cheryll, 25 of 58.     lines from the bottom, the "Valsartan
   12                                            12
          The Bates number, the last two digits     Process II Zinc Chloride Process Change
   13                                            13
          are 73. Perfect.                          Summary."
   14                                            14
          Q. You mentioned earlier that the                  Do you see that?
   15                                            15
      process change to zinc chloride took into         A. Wait a second.
   16
      account cost. Remember you were telling me 16          So basically it's the first
   17                                            17
      that earlier?                                 paragraph, right?
   18                                            18
               MR. BALL: Objection.                     Q. Right. Four lines from the
   19                                            19
          Mischaracterizes his earlier              bottom of that paragraph.
   20                                            20
          testimony.                                    A. Four lines from the bottom.
   21                                            21
          A. You mean, you know, why, you           One, two... Four lines. One, two, three...
   22                                            22
      know, a new process like zinc chloride        I don't see "Mr. Jun Du" here.
   23                                            23
      process was developed, right?                     Q. No. Now I'm on a different
   24                                            24
               ///                                  paragraph. I'm leading into it now. So let


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   1                                                   1
      me as you this.                                  Okay.
   2                                                 2
               If you look at the first                    Q. In the first paragraph, we can
    3                                                3
      paragraph --                                     see the process change to the zinc chloride
    4                                                4
          A. Oh. Oh, actually, I'm sorry.              process is being discussed, correct?
    5
      Actually I see in the second paragraph, okay. 5      A. You're basically again talking
    6                                                6
      Second paragraph, yeah, "Mr. Jun Du,             about the first paragraph?
    7                                                7
      Executive Vice President, apologized and             Q. Right. It's discussing the
    8                                                8
      stated that the change control should have       zinc chloride process change, correct?
    9                                                9
      stated the purpose" of change -- "should have        A. Yes. So far the very first
   10                                               10
      stated the purpose was to save money."           line of the first paragraph, right, okay? It
   11                                               11
               I don't know -- I don't know,           says, okay, "Change Request...did not
   12
      you know, you know, what that's supposed to 12 identify specific parameters the firm would
   13                                               13
      mean. Maybe --                                   use to evaluate the effectiveness of the
   14                                               14
               MR. BALL: He hasn't asked you           requested change and the impact of the
   15                                               15
          a question yet.                              requested change on intermediates and/or the
   16                                               16
               Go ahead, Adam.                         final valsartan API prior to implementing
   17                                               17
      BY MR. SLATER:                                   change..."
   18                                               18
          Q. In this Establishment                              So it's talk about particularly
   19                                               19
      Inspection Report, you can see at the first      change request here.
   20                                               20
      paragraph it's discussing the zinc chloride          Q. And then in the second
   21                                               21
      process change.                                  paragraph on this page, in the second line it
   22                                               22
               Do you see that?                        says that "Mr. Jun Du, Executive Vice
   23                                               23
          A. You mean the very first                   President, apologized and stated the change
   24                                               24
      paragraph, right?                                control should have stated the purpose of the
                                            Page 441                                         Page 443
   1                                                   1
                                                       change was to save money. Mr. Du further
          Q. Right. The first paragraph,
   2                                                 2 stated the cost reduction was so significant
      four lines from the bottom of the first
    3                                                3 it is what made it possible for the firm to
      paragraph, it's discussing the zinc chloride
    4                                                4 dominate the world market share."
      process change.
    5                                                5          Do you see what I just read?
               Do you see that?
    6                                                6      A. I don't know what -- you know,
          A. Hold on. So four line from the
    7                                                7 you know, what he actually said --
      bottom of the first paragraph.
    8                                                8          MR. BALL: That's a yes-or-no
               And also, yeah, going above,
    9                                                9      question, did you see what he read.
      like, Mr. Dong pointed out a table
   10                                               10      A. Well, what is -- yeah, what is
      describing, right, manufacturing process for
   11                                               11 showing here, yeah, it is. But, you know, as
      valsartan API.
   12                                               12 far as whether Mr. Du, you know, actually
               "Mr. Dong pointed to a table
   13
      describing manufacturing operating ranges in 13 said that or, I don't know, maybe that's a
   14                                               14 translational error. I really cannot tell.
      Valsartan Process II Zinc Chloride Process
   15                                               15 I mean, you know, it would be best, you know,
      Change Summary."
   16                                               16 to verify with Mr. Jun Du.
               And then, "The table does not
   17                                               17 BY MR. SLATER:
      include an acceptance criteria. I asked
   18                                               18      Q. Do you see what I just read?
      Mr. Dong if the firm established specific
   19                                               19      A. Yeah, I saw what you read,
      parameters with acceptance criteria which the
   20                                               20 yeah.
      firm used to evaluate if the isomer
   21                                               21      Q. And with regard to the subject
      conversion was reduced and the yield
   22
      increased...again pointed to the same table." 22 of cost and the cost in connection with the
   23                                               23 process change, in fact, as stated by Mr. Du,
               Okay. Yeah, so there's some,
   24                                               24 who is one of the top executives in the
      yeah, discussion with Mr. Peng Dong, yes.


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   1  company, this cost reduction from the zinc       1  derivative of irbesartan.
   2  chloride process allowed ZHP to dominate the     2            And also, again, that impurity
    3 world market share for valsartan. That's          3 was only present, you know, during the, you
    4 what, according to this document from the         4 know, process, you know, you know, you know,
    5 FDA, is what he told the FDA, correct?            5 trial tried to overcome some of the safety,
    6          MR. BALL: Objection. Hearsay,            6 you know, you know, concern, right.
    7     outside the scope.                            7           So as I indicated before, you
    8     A. Yeah, I think it's outside my              8 know, that impurity was not a real impurity
    9 scope. I mean, this is, you know, purely --       9 in a, you know, real commercial batch, and
   10 you know, I'm a technical person, so, you        10 so -- and also I indicated to you, you know,
   11 know, best again, you know, check with him       11 you know, the work has been done at the time,
   12 and make sure, you know, or whether he really    12 you know, the report was already there, you
   13 said that or really he meant that, you know.     13 know. I didn't say, you know, you know --
   14 It could have been, you know, there's some       14 you know, I mean, you can see, you know, you
   15 misunderstanding.                                15 know, from such a long period of time, you
   16 BY MR. SLATER:                                   16 know, you know, that work has been, you know,
   17     Q. And, in fact, the reason why              17 you know, has been ongoing.
   18 you and the others who received that e-mail      18           You know, as I explained
   19 in July 2017 from Jinsheng Lin did nothing in    19 yesterday, you know, the reason, you know, I
   20 response to that, knowing that NDMA was          20 advised him not to issue is try to avoid
   21 developing in the valsartan, was because the     21 confusion, you know.
   22 valsartan was doing so well in the market        22 BY MR. SLATER:
   23 that you didn't want to disrupt that,            23      Q. Your testimony is now that you
   24 correct?                                         24 told Mr. Lin not to issue that report was to

                                            Page 445                                             Page 447
   1                                                   1
                                                      avoid confusion, when last night you told me
               MR. BALL: Objection.
   2                                                2 that you didn't even remember it ever
          Foundation, mischaracterizes his
    3                                               3 happening. Have you suddenly remembered?
          earlier testimony, and outside the
    4                                               4     A. Well, I --
          scope.
    5                                               5          MR. BALL: Objection.
          A. I would say that's your
    6                                               6     Mischaracterizes his earlier
      speculation.
    7                                               7     testimony, and argumentative.
      BY MR. SLATER:
    8                                               8     A. Yeah, I mean, I think what I
          Q. And then in April 2018, when
    9                                               9 said yesterday is, first of all, I just said,
      you directed your team not to complete the
   10                                              10 you know, you know, I don't remember, you
      report that had been written since July of
   11
      2017 because of the sensitive impurity, that 11 know, you know, you know, whether, you know,
   12
      was because you understood that that would 12 you know, I don't remember the details of
   13                                              13 that conversation, okay?
      disrupt the marketing of the product which
   14                                              14          Second -- second point is I
      was very profitable to ZHP, and you didn't
   15                                              15 said retrospectively, you know, you know, if
      want to get in the way of that by disclosing
   16                                              16 I want to give you a reasonable explanation,
      the NDMA impurity, correct?
   17                                              17 you know, that's -- you know, that could be,
               MR. BALL: Objection.
   18                                              18 you know, the most likely reason, okay.
          Foundation, mischaracterizes his
   19                                              19 BY MR. SLATER:
          earlier testimony.
   20                                              20     Q. So do you remember the Jinsheng
          A. What you said really, you know,
   21                                              21 Lin e-mail and then directing your team not
      twisted, you know, you know, the fact, okay.
   22                                              22 to issue the report?
      Like I said yesterday, that particular
   23
      impurity is not NDMA, okay. That particular 23      A. I don't remember --
   24                                              24          MR. BALL: Hold on.
      impurity, you know, was the N-nitroso


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   1            Objection. Vague, compound,            1       Mischaracterizes his testimony.
   2      foundation.                                  2           Go ahead and answer if you can.
    3           Go ahead.                               3      A. The report should be somewhere,
    4     A. I don't remember, you know, you            4 but I don't know exactly, you know, or at
    5 know, that particular e-mail, as I said,          5 least, you know, at that time, but I don't
    6 because, you know, you know, I receive, you       6 know what would have happened, you know, to
    7 know, a lot of e-mail every day, and, you         7 it now.
    8 know -- so I, you know, basically completely      8 BY MR. SLATER:
    9 slipped through.                                  9      Q. Well, it should be in your
   10           But with regard to that                10 custodial file because it was provided to you
   11 conversation, you know, you know, I already      11 to read and decide what you wanted to do with
   12 provide you, you know, the explanation.          12 it, and after you reviewed it you said not to
   13 BY MR. SLATER:                                   13 issue it. So actually we should have gotten
   14     Q. Well, is your explanation based           14 it from your custodial file, right?
   15 on what you remember, or is your explanation     15          MR. BALL: Objection.
   16 something that you're just coming up with now    16      Speculative, and foundation.
   17 because you don't remember?                      17      A. I really don't know whether it
   18           MR. BALL: Objection.                   18 should be there or not. I mean --
   19     Argumentative. And compound.                 19 BY MR. SLATER:
   20     A. I think, you know, I, you know,           20      Q. Well, when somebody sends you a
   21 I've been quite clear, you know, yesterday       21 completed report to approve, you then have it
   22 and also just moments ago. You know, as I        22 in your e-mails and you have it on your
   23 said, first of all, with regard to that          23 computer, it should be there if somebody
   24 conversation, I do not remember the details      24 produces everything that's on there that's

                                            Page 449                                            Page 451
   1                                                   1  relevant, right?
      of the conversation, okay, and then I'm
   2                                                   2           MR. BALL: Objection.
      trying to provide a reasonable explanations.
    3                                                   3     Speculative.
      BY MR. SLATER:
    4                                                   4     A. I mean, at a certain point, you
           Q. When you say you tried to
    5                                                   5 know, it's possible, you know, yeah, he sent
      provide reasonable explanations, are you
    6                                                   6 that, you know, he might e-mail me, it's
      making up these explanations, or are these
    7                                                   7 possible. And also it's possible, you know,
      actually the facts of what you recall
    8                                                   8 he might just bring a hard copy.
      happened?
    9                                                   9          But as I said, you know, I just
               MR. BALL: Objection.
   10                                                  10 have no memory, you know, on the detail, what
           Argumentative, and compound, and
   11                                                  11 exactly happened.
           mischaracterizes his testimony.
   12                                                  12 BY MR. SLATER:
           A. So, you know, basically, you
   13                                                  13     Q. Did you speak to anybody today
      know, as I said, you know, I just try to, you
   14                                                  14 other than your lawyers --
      know, because I do not remember the details,
   15                                                  15     A. No.
      so as I said this would be a likely, you
   16                                                  16     Q. Let me just ask you.
      know, reason, okay?
   17                                                  17          Did you speak to anybody today
      BY MR. SLATER:
   18                                                  18 other than your lawyers --
           Q. We talked last night about the
   19                                                  19     A. Today --
      fact that we can't find that report. Can you
   20                                                  20     Q. You've got to let me finish the
      tell me any more than you told me last night
   21                                                  21 question.
      about where we might find that report that
   22                                                  22          MR. BALL: Min, let him finish,
      you told your team not to issue in April of
   23                                                  23     okay?
      2018? Because we'd really like to read it.
   24                                                  24          THE WITNESS: Okay. Sure.
               MR. BALL: Objection.


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   1                                                    1  Q. As part of the root cause
          Mm-hmm.
   2                                                 2 investigation conducted by ZHP, did ZHP
      BY MR. SLATER:
    3                                                3 review the July 27, 2017 e-mail that we
          Q. Did you speak to anybody today
    4
      other than your lawyers about this deposition 4 talked about and we've been discussing for
    5                                                5 Mr. Lin? Did -- was that looked at as part
      or anything that you testified to or were
    6                                                6 of ZHP's root cause investigation?
      asked about yesterday?
    7                                                7     A. You mean was that, or was his
          A. No.
    8                                                8 e-mail being looked at it?
          Q. When your computer was --
    9                                                9     Q. Right. Was that looked at as
      rephase.
   10                                               10 part of the root cause investigation
               I just want to be very clear.
   11
      Do you recall your computer actually being 11 conducted by ZHP?
   12
      collected so that information on the computer 12     A. I mean, as I told you, you
   13                                               13 know, yesterday, you know, you know, it
      could be taken down and provided to us as
   14                                               14 basically -- you know, that e-mail didn't,
      part of this litigation? Do you recall that
   15                                               15 you know, you know, generate any resonance.
      actually happening?
   16                                               16          MR. BALL: Min, that's a yes or
          A. Oh, yeah, mm-hmm.
   17                                               17     no question. Did you -- was it -- did
          Q. Do you have hard copy documents
   18                                               18     anybody look at it as part of the root
      in your office?
   19                                               19     cause analysis?
          A. No.
   20                                               20     A. No.
               MR. BALL: Objection. Vague.
   21                                               21 BY MR. SLATER:
      BY MR. SLATER:
   22                                               22     Q. Did anybody speak to Mr. Lin as
          Q. Well, you just told me that
   23                                               23 part of the root cause analysis -- root --
      Mr. Lin might have brought you the report as
   24                                               24 let me rephrase it.
      a hard copy, so I assume from that that
                                             Page 453                                            Page 455
   1  sometimes people provided you hard copy           1
                                                                   Did anybody speak to Jinsheng
   2  documents. Did I misunderstand?                   2
                                                           Lin as part of the root cause investigation?
    3          MR. BALL: Objection.                      3
                                                               A. I have no idea.
    4     Mischaracterizes his testimony.                4
                                                               Q. Certainly Mr. Lin should have
    5     A. But I don't keep that, you                  5
                                                           that report on his computer, right?
    6 know, hard copy. He might -- okay. He              6
                                                                   MR. BALL: Objection.
    7 may -- he might or he might not. But, you          7
                                                               Speculation.
    8 know, hypothetically, you know, if he, you         8
                                                               A. He may, you know, right now,
    9 know, bring a hard copy for discussion             9
                                                           may or may not. I really don't know.
   10 usually, you know, I don't keep them.             10
                                                           BY MR. SLATER:
   11 Otherwise, you know, I'll be, you know, you       11
                                                               Q. Somebody should have that
   12 know, overwhelmed, you know. I don't like to      12
                                                           report on their computer, right?
   13 have too many, you know, you know, hard copy,     13
                                                                   MR. BALL: Objection.
   14 you know, because it's also waste of              14
                                                               Speculation.
   15 resources.                                        15
                                                           BY MR. SLATER:
   16 BY MR. SLATER:                                    16
                                                               Q. It should exist somewhere
   17     Q. You have some paper documents              17
                                                           within -- it should -- rephrase.
   18 in your office; you're not saying you have        18
                                                                   That report should exist
   19 none, are you?                                    19
                                                           somewhere within ZHP, right?
   20     A. I have some, yeah, like                    20
                                                                   MR. BALL: Objection.
   21 company, you know, you know, policies, you        21
                                                               Speculation and argumentative and
   22 know, for some of the company policy. For         22
                                                               compound.
   23 example, like travel policies, you know, it's     23
                                                               A. A more accurate statement would
   24 just for easy references.                         24
                                                           be, you know, it most likely this document


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   1                                                  1   on. Wouldn't be the first time she's
      may be present in the computer, you know, at
   2                                                2     done that to me.
      a certain point of time. But as far as its
    3                                               3           MS. CALDERON: Won't be the
      current status, I really, you know, have
    4                                               4     last.
      no -- I do not have that knowledge.
    5                                               5           MR. SLATER: Excellent. I hope
      BY MR. SLATER:
    6                                               6     you got that on the record.
          Q. Well, does ZHP have that
    7                                               7           MR. BALL: Yeah, we're still on
      knowledge?
    8                                               8     the record.
               MR. BALL: Objection.
    9                                               9           MR. SLATER: Good, good.
          Speculation.
   10                                              10 BY MR. SLATER:
      BY MR. SLATER:
   11                                              11     Q. Looking now at ZHP-209 --
          Q. Remember, you're speaking for
   12                                              12 rephrase.
      ZHP, so I'm asking --
   13                                              13           Looking now at Exhibit 209,
               MR. BALL: No, I understand,
   14                                              14 this is an "IARC Monograph on the Evaluation
          Adam, I didn't tell him not to answer.
   15                                              15 of the Carcinogenic Risk of Chemicals to
               MR. SLATER: No, no. I was
   16                                              16 Humans."
          going to rephrase the question to make
   17                                              17           MR. SLATER: And if you could
          it clearer.
   18                                              18     scroll up a little more, Cheryll,
      BY MR. SLATER:
   19                                              19     please.
          Q. Speaking for ZHP, that report
   20                                              20     Q. It's addressing some N-nitroso
      should exist somewhere, right --
   21                                              21 compounds.
               MR. BALL: Objection.
   22                                              22           Do you see that?
      BY MR. SLATER:
   23                                              23     A. Mm-hmm.
          Q. -- in the company, and be able
   24                                              24           MR. SLATER: And just to --
      to be produced to us, right?
                                           Page 457                                          Page 459
   1                                                  1
               MR. BALL: Objection.                        scroll up again to be sure that we're
   2                                                 2
           Speculation.                                    clear on timing. I just want to get
    3                                                3
           A. You know, as I said, you know,               to the very bottom of the page to get
    4                                                4
      at this point, you know, I just cannot answer        to the date.
    5                                                5
      that question.                                       Q. And the date on this document
    6                                                6
      BY MR. SLATER:                                   is May 1978.
    7                                                7
           Q. Why can't you answer that                         Do you see that?
    8                                                8
      question?                                            A. Mm-hmm.
    9                                                9
           A. Because, you know, anything can              Q. You know what IARC is, right?
   10                                               10
      happen between then and now.                         A. Oh, yes.
   11                                               11
           Q. What do you mean by that,                    Q. It's the International Agency
   12                                               12
      "anything can happen"?                           for Research on Cancer, a respected
   13                                               13
           A. You know, it just could be               organization, correct?
   14
      deleted or, you know, you know, for whatever 14      A. Oh, yes.
   15                                               15
      the reason, if it's, you know, saved                      MR. BALL: Objection.
   16                                               16
      somewhere at some point.                             Speculation.
   17                                               17
               MR. SLATER: Cheryll, let's go           BY MR. SLATER:
   18                                               18
           to Exhibit 209, please.                         Q. Speaking for ZHP with regard
   19                                               19
               MR. BALL: Adam, did we lose             to -- rephrase.
   20                                               20
           Cheryll? There we go. Okay.                          Speaking for ZHP, the IARC is
   21                                               21
               MR. SLATER: I don't think we            certainly a respected organization, correct?
   22                                               22
           would lose her. She would just say,             A. Yes.
   23                                               23
           You know what? It's late enough, I've                MR. SLATER: Let's look now at
   24                                               24
           had it with you people, and I'm moving          page 36, and I want to look at the


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                                             Page 460                                            Page 462
   1                                                    1
          third paragraph.                                 yeah, someone will, you know, you
   2                                                2
          Q. The third -- rephrase.                        know, going and trying to find this
    3                                               3
               The third paragraph on page 36              document.
    4                                               4
      starts out, "It has been known since 1865                 MR. SLATER: Let's go, Cheryll,
    5                                               5
      that the reaction of dimethylamine                   to page 40, please. Thank you.
    6                                               6
      hydrochloride with sodium nitrite at an         BY MR. SLATER:
    7                                               7
      acidic pH yields" N-nitro sodium                     Q. Looking at page 40, the first
    8                                               8
      methylene" -- I'm going to start over.          full paragraph, the second sentence starts
    9                                               9
               The third paragraph on page 36         out, "The principal techniques employed for
   10                                              10
      starts out stating, "It has been known since    the analysis of volatile N-nitrosamines have
   11                                              11
      1865 that the reaction of dimethylamine         been described in a recent publication," and
   12                                              12
      hydrochloride with sodium nitrite at an         it gives a citation from 1978.
   13                                              13
      acidic pH yields NDMA."                                   Do you see that?
   14                                              14
               Do you see that?                            A. Right.
   15                                              15
          A. Yes.                                               MR. BALL: Hold on. Adam, I
   16                                              16
          Q. And, again, that's describing                 don't see it. Where are you?
   17
      what happened in the zinc chloride process, 17            MR. SLATER: I'm in the
   18                                              18
      correct?                                             paragraph --
   19                                              19
               MR. BALL: Objection.                             MR. BALL: Oh, I see it. I'm
   20                                              20
          Foundation.                                      sorry. I'm sorry. I was looking
   21                                              21
          A. This -- you know, I think the                 farther down.
   22                                              22
      correct way to say is, you know, the zinc                 MR. SLATER: No problem.
   23
      chloride, you know, retrospectively again, 23 BY MR. SLATER:
   24
      the zinc chloride process for the formation 24       Q. The paragraph continues, "The
                                             Page 461                                            Page 463
   1  of NDMA, you know, was also under the acidic,     1  relative merits of high- and low-resolution
   2  you know, pH.                                     2  mass spectrometry are discussed, since use of
    3           So, yes, so from that                    3 mass spectrometry as a confirmatory technique
    4 perspective, yeah, they are consistent.            4 is particularly important."
    5 BY MR. SLATER:                                     5           Do you see what I just read?
    6      Q. And this is an IARC monograph              6      A. Yes.
    7 from 1978. It's certainly something that           7      Q. And certainly it was
    8 scientists would be aware of and have              8 well-known, at least as of 1978 when this
    9 available to them if they wanted to consult        9 IARC monograph was published, that mass
   10 it, correct?                                      10 spectrometry was an important confirmatory
   11      A. Yes.                                      11 technique to identify nitrosamines such as
   12           MR. BALL: Objection.                    12 NDMA, correct?
   13      Speculative, and calls for expert            13           MR. BALL: Objection.
   14      testimony.                                   14      Speculative, and calls for expert
   15 BY MR. SLATER:                                    15      testimony.
   16      Q. And it would have been                    16      A. This description itself is very
   17 available to be reviewed in 2011 certainly,       17 vague, okay. Between, you know, that time
   18 right, since it's dated in 1978, correct?         18 and now, you know, mass spectrometry has made
   19      A. I'm sorry, what?                          19 quite, you know, a significant progress.
   20           MR. BALL: Go ahead, answer.             20           So without knowing, you know,
   21           THE WITNESS: Okay.                      21 the detail what this particular, you know,
   22           Yeah, basically, you know, if           22 you know, sentence is referring, you know,
   23      there is a particular, you know, you         23 it's very difficult, you know, you know, to
   24      know, reason, you know, at the time,         24 assess, you know.




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                                            Page 464                                      Page 466
   1           I mean, one thing I would say,          1
                                                            finish your next document in like the
   2  you know, based upon, you know, such a low       2
                                                            last -- the next 15 minutes, or do we
    3 level, right, now these, you know, you know,      3
                                                            want to take a break now, or --
    4 like 30 ppb, you know, or sometimes even          4
                                                                 MR. SLATER: I don't think I'm
    5 lower, I would say that the technology or the     5
                                                            going to finish this in the next
    6 mass spectrometry, you know, during that time     6
                                                            15 minutes. I've got a lot of
    7 would not be adequate to analyze or detect at     7
                                                            interaction documents here.
    8 such a low level, you know, as we see or need     8
                                                                 MR. BALL: Okay. So why don't
    9 to, you know, test today.                         9
                                                            we take a break, you can get yourself
   10     Q. You would agree with me that at           10
                                                            set up and then, you know, if we need
   11 least as of 1978 when this IARC monograph was    11
                                                            to take another break we can, if we
   12 published, it was known that mass                12
                                                            don't we won't, okay?
   13 spectrometry was an important confirmatory       13
                                                                 MR. SLATER: That sounds good.
   14 technique to identify nitrosamines such as       14
                                                            All right. So let's take ten.
   15 NDMA, correct?                                   15
                                                                 THE VIDEOGRAPHER: The time
   16          MR. BALL: Objection. Calls              16
                                                            right now is 11:07 a.m. We're now off
   17     for expert testimony.                        17
                                                            the record.
   18     A. Here it just said, yeah, the              18
                                                                 (Whereupon, a recess was
   19 principal technique, yeah, for the analysis      19
                                                            taken.)
   20 of volatile N-nitrosamine.                       20
                                                                 THE VIDEOGRAPHER: The time
   21          (Cross-talking.)                        21
                                                            right now is 11:22 a.m. We're back on
   22 BY MR. SLATER.                                   22
                                                            the record.
   23     Q. That would include NDMA,                  23
                                                          BY MR. SLATER:
   24 correct?                                         24
                                                            Q. Looking now at -- rephrase.
                                            Page 465                                      Page 467
   1                                                   1     Going back to the ICH
               MR. BALL: You both were
   2                                              2 Guideline, M7 from 2013, we're now looking at
          talking at the same time. I didn't
    3                                             3 Section 7.2.1 titled "Mutagenic Impurities
          hear the question. I'm sorry.
    4                                             4 With Positive Carcinogenicity Data (Class 1
          A. So, Adam, could you repeat
    5                                             5 in Table 1)." And for these -- rephrase, I'm
      the -- you know, the question, right, Rick
    6                                             6 going to start over.
      wanted to hear, right?
    7                                             7          MR. SLATER: Let me just check
      BY MR. SLATER:
    8                                             8     something. I might want to go to a
          Q. When this talks about volatile
    9                                             9     different page.
      N-nitrosamines, that would include NDMA,
   10                                            10          You know what, let's go to
      correct?
   11                                            11     page 10, to the top of the page.
          A. Yes.
   12                                            12     Great. I'll start over.
               MR. SLATER: All right. Let's
   13                                            13     Q. We're back -- rephrase.
          take this document down, and we're
   14                                            14          Looking at the ICH guideline
          going to switch to another document.
   15                                            15 from 2013, we're now on page 10. At the top
               So I don't know -- I lost track
   16                                            16 of page 10 it states, "A disproportionately
          of time, so you tell me.
   17
               MR. BALL: We're at three hours 17 high number of members of some structural
   18                                            18 classes of mutagens, i.e. aflatoxin-like-,
          and 26 minutes, so we can -- it's
   19                                            19 N-nitroso-, and azoxy structures, of which
          really up to you, Adam. We've got
   20                                            20 some may occur as impurities in
          about an hour six since the last
   21                                            21 pharmaceuticals, display extremely high
          break.
   22                                            22 carcinogenic potency. Acceptable intakes for
               MR. SLATER: All right. Let's
   23                                            23 these high-potency carcinogens would likely
          keep going. I'm fine --
   24
               MR. BALL: Do you think you can 24 be significantly lower than the acceptable


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   1                                                    1  need to evaluate the specific impurities and
      intakes defined in this guideline."
   2                                                    2  determine what would be the acceptable level
               Do you see what I just read?
    3                                                    3 for that impurity as opposed to using the
          A. Yes.
    4                                                    4 threshold approach, correct?
          Q. And first of all, they're
    5                                                    5          MR. BALL: Objection.
      talking about these structures displaying
    6                                                    6     Foundation.
      extremely high carcinogenic potency. That
    7                                                    7     A. Yeah. I'm sorry. Yes.
      would relate to the tendency to be able to
    8                                                    8 BY MR. SLATER:
      increase your risk for or cause cancer,
    9                                                    9     Q. And in this case, in 2018 the
      correct?
   10                                                   10 FDA actually established certain limits when
               MR. BALL: Objection. Vague.
   11                                                   11 this became known to them that there was NDMA
          A. Specifically with regard to
   12                                                   12 in the valsartan, correct?
      nitrosamine, so I think in previous, you
   13                                                   13          MR. BALL: Objection.
      know, you know, conversations, you know, I
   14                                                   14     Foundation.
      think I indicated the carcinogenicity, it is
   15                                                   15     A. Yeah, that was issued by FDA,
      being discussed here, is referring to, you
   16                                                   16 yeah, in 2018.
      know, the result, or the data derived from
   17                                                   17 BY MR. SLATER:
      animal studies.
   18                                                   18     Q. And those limits for NDMA were
      BY MR. SLATER:
   19                                                   19 96 nanograms, which would equate to 0.3 parts
          Q. When this refers to extremely
   20                                                   20 per million, correct?
      high carcinogenic potency, that's talking
   21                                                   21     A. There was no such limit at that
      about the ability to cause or increase the
   22                                                   22 time. That limit was established only after,
      risk for cancer, correct?
   23                                                   23 you know, the events of June 2018.
               MR. BALL: Objection. Vague.
   24                                                   24     Q. In 2018, after the FDA was made
          A. Again, the risk, you know, to
                                             Page 469                                            Page 471
   1                                                    1  aware that there was NDMA in the valsartan,
      cancer with regard to N-nitrosamine, you
   2                                                    2  the FDA established certain limits, correct?
      know, is really related to or referring to,
    3                                                    3     A. Yes. And also I indicated
      you know, you know, the -- in animals.
    4                                                    4 yesterday at different time point, you know,
      BY MR. SLATER:
    5                                                    5 you know, the limits also, you know, changes
          Q. This standard is talking about
    6                                                    6 with time. From the very beginning of it
      impurities in pharmaceuticals. Those would
    7                                                    7 should be absent, meaning for NDMA would be 5
      be pharmaceuticals that would be taken by
    8                                                    8 ppb in terms of the limit of detection to the
      human beings, correct?
    9                                                    9 current, you know, 96-nanogram, which is
          A. Yes.
   10                                                   10 equivalent to 300 ppb. So -- so you can see
          Q. And with regard to humans
   11                                                   11 there is a 60 times of increase in terms of
      taking pharmaceuticals, this is talking about
   12                                                   12 the allowable intake.
      certain impurities that display extremely
   13                                                   13     Q. The FDA established limits of
      high carcinogenic potency. That's the
   14                                                   14 96 nanograms, which equates to 0.3 parts per
      context, correct?
   15                                                   15 million, correct?
               MR. BALL: Objection. Vague,
   16                                                   16     A. Yes, for valsartan.
          calls for expert testimony.
   17                                                   17     Q. For NDMA in valsartan, correct?
          A. With regard to that, you know,
   18                                                   18     A. Versus its maximum dose, yes.
      specific, you know, the three classes, yes.
   19                                                   19     Q. And for NDEA, actually
      BY MR. SLATER:
   20                                                   20 established limits of 26.5 nanograms or
          Q. And then when it says,
   21                                                   21 .083 parts per million, correct?
      "Acceptable intakes for these high-potency
   22                                                   22          MR. BALL: Objection.
      carcinogens would likely be significantly
   23                                                   23     Foundation.
      lower than the acceptable intakes defined in
   24                                                   24     A. Yeah, it looks like, yes.
      this guideline," this is talking about the


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   1                                                  1  a little, Cheryll, so that we just
      BY MR. SLATER:
   2                                               2     show the table at this point. A
          Q. And these limits were set as --
    3                                              3     little more. Thank you.
      rephrase.
    4                                              4     Q. We talked a few moments ago
               These limits were set in order
    5                                              5 about the limits the FDA set, and for NDMA it
      to protect patient safety, correct?
    6                                              6 was 0.3 parts per million. We talked about
               MR. BALL: Objection.
    7                                              7 that, right?
          Speculation.
    8                                              8     A. Mm-hmm.
          A. As the title of --
    9                                              9     Q. And -- rephrase.
               MR. BALL: Calls for expert
   10                                             10           Looking now at Batch Number 1,
          testimony.
   11                                             11 which was manufactured on December 28, 2011,
               Go ahead.
   12                                             12 which was one of the validation batches, the
          A. As the title of this M7
   13                                             13 NDMA result was 76 parts per million,
      implies, you know, the purpose is limit of
   14                                             14 correct?
      potential carcinogenic risk.
   15                                             15           MR. BALL: Objection.
               MR. SLATER: Cheryll, what I'd
   16                                             16     Foundation.
          like to do now is pull up, if we
   17                                             17     A. I'm sorry. Yes.
          could, Exhibit 42.
   18                                             18 BY MR. SLATER:
      BY MR. SLATER:
   19                                             19     Q. And I just did some simple math
          Q. Page 42 is a document dated
   20
      September 1st, 2018 titled "Response to DMF 20 and divided 76 by .3 to try to figure out how
   21                                             21 many times the FDA limit that was, and I came
      Information Request Letter."
   22                                             22 to 253 times the FDA limit.
               Do you see that there?
   23                                             23           Does that sound right to you?
          A. Mm-hmm. Yep.
   24                                             24     A.     Probably, yeah.
          Q. What I'd like to now do is turn
                                           Page 473                                         Page 475
   1                                                  1
      to page 8, if we could, please.                      Q. And just randomly looking at
   2                                                 2
               MR. SLATER: If you could,               this, going on the right-hand column,
    3                                                3
          Cheryll, just scroll up a little bit         Batch 409 at 99.6, that's 332 times the FDA
    4                                                4
          more so we capture the top part of the       limit.
    5                                                5
          page, and then we'll scroll down once                  Do you see that?
    6                                                6
          we read the top. Thank you.                            MR. BALL: Adam, I don't see
    7                                                7
          Q. Looking now on page 8 of this                 batch 409.
    8
      document, there was a request, you can see at 8            MR. SLATER: It's in the second
    9                                                9
      the top, little letter "b.", "Provide a              column.
   10                                               10
      summary of the data for all lots tested to           A. Right here, yeah.
   11                                               11
      date for NDMA manufactured using the                       MR. BALL: Oh, number 409, not
   12                                               12
      post-change process ('zinc chloride                  batch 409. The batch number is --
   13                                               13
      process'). Provide the corresponding GC              okay. I misunderstood what you were
   14                                               14
      chromatograms."                                      pointing to, Adam.
   15                                               15
               And the Response is that, "The                    MR. SLATER: No problem, no
   16                                               16
      summary of the data for all lots tested to           problem.
   17                                               17
      date for NDMA manufactured using the                       Cheryll, could you scroll down
   18                                               18
      post-change process (the zinc chloride               a little bit, please? Let's scroll a
   19                                               19
      process) are provided in Table 1."                   few pages down to page 11 of 33, to
   20                                               20
               Do you see that?                            the top of that chart. You'll see
   21                                               21
          A. Mm-hmm, yes.                                  it's -- you're going to see number 125
   22                                               22
          Q. And we just talked a little bit               in the left and 517 in the middle.
   23                                               23
      about the limits.                                    There you are.
   24                                               24
               MR. SLATER: You can scroll up               Q. Looking now at the batch


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   1  numbered 518, we have 188.1 parts per           1  these levels, it was never acceptable to be
   2  million, which if you divide that by .3,        2  selling valsartan with these levels of NDMA,
    3 that's 627 times the limit set by the FDA,       3 correct? From a health perspective from
    4 correct?                                         4 ZHP's view of the health risk?
    5      A. Yes.                                     5          MR. BALL: Objection.
    6      Q. And we can go through this. My           6     Speculative and compound, and calls
    7 point being, this actually was through --        7     for expert testimony.
    8 rephrase.                                        8 BY MR. SLATER:
    9           MR. SLATER: Cheryll, can you           9     Q. I'll ask the question again.
   10      scroll to the end on page 16, just so      10 One second.
   11      we can establish the number of batches     11          From ZHP's perspective, the
   12      that were tested? Perfect.                 12 health risk posed by these levels of NDMA was
   13      Q. 783 batches. We can agree that          13 never acceptable, correct?
   14 all of these batches tested at numbers many,    14          MR. BALL: Objection. Vague.
   15 many times more than the limit the FDA ended    15     A. You know, again, you know, with
   16 up setting, correct?                            16 potential risk to, you know, patients, again,
   17           MR. BALL: Objection. Vague.           17 this would be best answered by a
   18      A. They're all higher, yeah, than          18 toxicologist.
   19 0.3.                                            19 BY MR. SLATER:
   20 BY MR. SLATER:                                  20     Q. Well, I'm asking you, who is
   21      Q. And in terms of the health and          21 testifying for ZHP in this deposition on this
   22 safety component, those levels certainly        22 topic, and you would agree with me on behalf
   23 are -- rephrase.                                23 of ZHP these levels would never have been and
   24           In terms of health and safety         24 never were acceptable from a health

                                           Page 477                                            Page 479
   1                                                  1
      for patients, those levels of NDMA are not       perspective for the patients using
   2                                                 2
      acceptable from a health standpoint, correct?    medication, correct?
    3                                                3
               MR. BALL: Objection. Calls                       MR. BALL: Objection. Calls
    4                                                4
          for expert testimony.                            for expert testimony, vague.
    5                                                5
          A. As I indicated yesterday, in                  A. Again, you know, it's not
    6                                                6
      terms of the health risks, you know, it would    for -- you know, for me, you know, to, you
    7
      be better suited, you know, to be answered by 7 know, give that evaluations.
    8                                                8
      a toxicologist.                                  BY MR. SLATER:
    9                                                9
      BY MR. SLATER:                                       Q. Well, the FDA certainly has
   10                                               10
          Q. Well, speaking for ZHP, those             toxicologists on their staff, right?
   11                                               11
      levels are certainly not acceptable for sale,        A. Oh, yeah.
   12                                               12
      correct?                                             Q. And they determined these
   13                                               13
               MR. BALL: Objection. Vague.             levels would not be acceptable from a health
   14                                               14
          A. At the time of the -- you know,           standpoint, correct?
   15                                               15
      of the registration, you know, you know,                  MR. BALL: Objection.
   16                                               16
      prior to these events, you know, this                Speculative.
   17                                               17
      particular specification was not there, you          A. Retrospectively, based on the
   18                                               18
      know, so all product met all the, you know,      current knowledge, this is the case.
   19                                               19
      regulatory filed specifications. So this is      Retrospectively, again.
   20                                               20
      really a retrospective analysis.                 BY MR. SLATER:
   21                                               21
      BY MR. SLATER:                                       Q. And that unacceptable health
   22                                               22
          Q. Well, let's talk                          risk is an unacceptable risk that somebody
   23                                               23
      retrospectively.                                 could develop cancer as a result of using
   24                                               24
               Retrospectively looking at              this medication contaminated with NDMA at


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   1  these levels, correct?                           1
                                                                   MR. SLATER: No, I understand,
   2           MR. BALL: Objection. Calls              2
                                                              but what I'm --
    3     for expert testimony, compound,               3
                                                                   MR. BALL: Adam, I've made my
    4     foundation.                                   4
                                                              objection.
    5     A. As I indicated yesterday, you              5
                                                                   MR. SLATER: The problem is
    6 know, NDMA, you know, to human is a probable      6
                                                              your witness continues to say he won't
    7 or potential carcinogenic. So whether, you        7
                                                              answer the question when he's
    8 know, these levels will cause cancer in           8
                                                              designated to answer the question.
    9 humans is not confirmed.                          9
                                                                   MR. BALL: No, no. I don't
   10 BY MR. SLATER:                                   10
                                                              think it is that. I think it actually
   11     Q. Well, when you -- rephrase.               11
                                                              is outside the scope. But if you want
   12          NDMA is considered a probable           12
                                                              to continue to ask him, feel free.
   13 carcinogen, which means more likely than not     13
                                                          BY MR. SLATER:
   14 it will cause or contribute to somebody at       14
                                                              Q. Based on ZHP's evaluation and
   15 least having an increased risk to develop        15
                                                          knowledge of the health risks of the NDMA
   16 cancer. Can we agree to that without having      16
                                                          contamination of the valsartan, those people
   17 to quantify the level of increased risk?         17
                                                          who took those pills have a higher risk to
   18          Can we agree to that statement?         18
                                                          develop cancer than if they had not taken
   19          MR. BALL: Objection. Calls              19
                                                          those pills.
   20     for expert testimony.                        20
                                                                   You can agree to that, right?
   21     A. There is no evidence, you know,           21
                                                                   MR. BALL: Objection.
   22 you know, at this point, or there's no, you      22
                                                              Mischaracterizes his testimony,
   23 know, confirmed link, okay, between these        23
                                                              foundation, and calls for expert
   24 levels, you know, of NDMA to the potential       24
                                                              testimony.
                                            Page 481                                           Page 483
   1  risk or to -- you know, to -- essentially,       1    A. This is what, you know, you
   2  you know, it's a potential risk, okay. So a    2 said, okay? I didn't say that, okay. And
    3 potential risk is not a confirmed link.        3 from, you know, ZHP's perspective in terms of
    4 BY MR. SLATER:                                 4 the health risk, right, all I can tell you
    5      Q. You would agree with me that           5 based on my expertise, based on my
    6 the people who took the valsartan              6 understanding, is this is a potential risk to
    7 contaminated with NDMA have a higher risk to 7 human, okay. Anything beyond that, you know,
    8 develop cancer than if they had not taken the  8 it's really not appropriate for me, you know,
    9 valsartan contaminated with NDMA.              9 to comment.
   10           You would agree with that           10 BY MR. SLATER:
   11 statement, correct?                           11      Q. Well, you're the only person
   12           MR. BALL: Objection. Outside        12 designated on this topic, so you're the
   13      the scope, and calls for expert          13 person I have to ask these questions of.
   14      testimony, and foundation.               14           MR. BALL: Objection.
   15      A. Again, it's best to be answered       15      Argumentative.
   16 by a toxicologist.                            16      A. Yeah, you know, I give you
   17 BY MR. SLATER:                                17 answer, you know, you know. You know, my
   18      Q. This is Topic 36. This is what        18 answer, you know, or, you know, by
   19 you're designated to testify on. It's not     19 representing ZHP is at this point our, you
   20 expert testimony, it's not beyond the scope.  20 know, you know, risk assessment, you know,
   21 It's ZHP's evaluation and knowledge of the    21 based upon, you know, you know, you know, you
   22 health risks of this contamination with NDMA. 22 know, the potential risk, you know, to human.
   23           MR. BALL: Adam, I didn't            23 You know, everything, you know, is out there,
   24      instruct him not to answer.              24 you know, as I said.




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   1            At this point it's still a             1  the health risk to patients, right?
   2  potential risk, okay. There is no                2            MR. BALL: Objection.
    3 established link, okay?                           3      Mischaracterizes his earlier
    4           And also yesterday, you know, I         4      testimony.
    5 gave you an example, right, a 40,000-plus,        5      A. I said based upon the potential
    6 you know, patient taking ranitidine, you          6 risk to human, yeah, or to patient.
    7 know, which is known now, you know, to give       7 BY MR. SLATER:
    8 huge amount. You know, the level of NDMA          8      Q. When you say due to the
    9 actually, if you look at the paper, actually      9 potential risk to patients, it was determined
   10 are much higher, you know, than these. And       10 by ZHP that it was unacceptably dangerous for
   11 versus a group of control, you know, a group     11 patients to take the pills contaminated with
   12 like more than 10,000, you know, patient         12 the NDMA, correct?
   13 taking famotidine, which is the same class of    13           MR. BALL: Objection.
   14 the medication, but would not decompose to       14      Mischaracterizes his earlier
   15 give NDMA.                                       15      testimony.
   16           So, as I indicated, you know,          16      A. Again, this is what you're
   17 this is from my, you know, limited, you know,    17 saying. Okay. This is not what I said. So
   18 understanding, you know, in this particular,     18 I think I have answered numerous times, you
   19 you know, like a clinical side, right, you       19 know, yesterday as well as today.
   20 know.                                            20 BY MR. SLATER:
   21           To me this is very                     21      Q. Well, when you say that it was
   22 well-controlled, with large enough population    22 a potential risk, what you're saying is that
   23 to have a significant, you know, you know,       23 it was too dangerous, otherwise you would
   24 meaningful, you know, results.                   24 have kept selling it, correct?

                                            Page 485                                             Page 487
   1           You know, I -- and again, you           1           MR. BALL: Objection.
   2  know, this result, you know, indicated that      2      Mischaracterizes his testimony, and
    3 there is no increased, you know, cancer risk      3     argumentative.
    4 to patients taking ranitidine versus, you         4     A. I think any -- anyone with a,
    5 know, the patient taking, you know,               5 you know, a reasonable, you know,
    6 famotidine.                                       6 understanding will not equal a potential
    7     Q. You told me earlier that ZHP               7 risk, you know, to, like you said, a very
    8 made the decision to stop selling its             8 dangerous. These -- these two are clearly,
    9 valsartan because of the levels of NDMA in        9 you know, you know, they are -- mean
   10 the valsartan. That was for the benefit of       10 different things.
   11 patients, right?                                 11 BY MR. SLATER:
   12          MR. BALL: Objection.                    12     Q. When you say a potential risk,
   13     Mischaracterizes his earlier                 13 it was an unacceptable risk in ZHP's
   14     testimony.                                   14 viewpoint, and that's why ZHP stopped selling
   15     A. Yeah, I think I already give              15 the valsartan, correct?
   16 the answer, you know, previously.                16          MR. BALL: Objection.
   17 BY MR. SLATER:                                   17     Mischaracterizes his testimony.
   18     Q. Well, let me ask you now.                 18     A. Again, our decision was based
   19          When ZHP decided to stop                19 upon the potential risk, you know, to
   20 selling -- rephrase.                             20 patients.
   21          As you said that -- rephrase.           21 BY MR. SLATER:
   22          When ZHP, as you said, decided          22     Q. And the decision that that
   23 to stop selling the valsartan contaminated       23 potential risk was unacceptable, correct?
   24 with NDMA, that decision was made based on       24          MR. BALL: Objection.


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   1                                                   1
                                                       you know, the presence of impurity K or
           Mischaracterizes his testimony, asked
   2                                                 2 whatever. So I think that this is a
           and answered.
    3                                                3 regulatory filing document, so I think my
           A. I mean, I -- you know, if you
    4                                                4 colleague from the regulatory affair, you
      want to keep asking the same question, you
    5                                                5 know, will have a much better, you know, you
      know, you know, I can give you the same
    6                                                6 know, answer to you.
      answer.
    7                                                7     Q. Well, the regulatory affairs
               You know, basically as I said,
    8                                                8 people aren't the ones determining what
      the decision was made based upon the
    9                                                9 impurities are in the substance, they seek
      potential risks to patients and which, you
   10                                               10 that advice from people like yourself, right?
      know, that potential risk is based upon, you
   11
      know, the available scientific, you know, you 11          MR. BALL: Objection. Vague.
   12
      know, documents available, you know, as of 12        A. Well, basically, you know, they
   13                                               13 will, you know, get -- you know, confirm the
      today.
   14
               MR. SLATER: Take this document 14 results from R&D people, including, you know,
   15                                               15 my organizations.
           down. And Cheryll, let's go to
   16                                               16          But here, yeah, I clearly don't
           Exhibit 205, please.
   17                                               17 see impurity K. You know, the very reason at
      BY MR. SLATER:
   18                                               18 this point why it's not in there, you know, I
           Q. This is the DMF amendment that
   19
      was filed -- it's dated November 10, 2013 -- 19 just cannot tell you the details, because I
   20                                               20 don't know, you know, those details.
      was filed in December of 2013.
   21                                               21          Only thing that I know is
               Do you see that?
   22                                               22 during the course, you know, at a certain
           A. Yes.
   23                                               23 point, you know, we became to know.
           Q. And this section 3.2.S.3.2
   24                                               24          ///
      lists impurities, and there's a table of
                                            Page 489                                            Page 491
   1  Potential Impurities in Valsartan.               1
                                                          BY MR. SLATER:
   2            Do you see that?                       2
                                                              Q. You don't know when that was?
    3     A. Oh, yeah, mm-hmm, sure.                    3
                                                              A. I would say it's -- looks like,
    4           MR. SLATER: And, Cheryll, if            4
                                                          you know, it's probably, you know, maybe
    5     you could scroll down through that            5
                                                          after this one, you know.
    6     list of impurities, let's go through          6
                                                              Q. Do you have any idea when it
    7     the lettered ones. Go to the last             7
                                                          was discovered or who discovered it?
    8     lettered one that we can get to. I            8
                                                                    MR. BALL: Objection. Vague.
    9     think it's probably going to be J.            9
                                                                    MR. SLATER: All right. I'll
   10     There we go.                                 10
                                                              ask it again.
   11     Q. In the list of impurities in              11
                                                          BY MR. SLATER:
   12 this DMF, it goes up to impurity J.              12
                                                              Q. Do you have any idea who
   13 Impurity K, which we've discussed previously,    13
                                                          identified impurity K, and when that occurred
   14 was not listed, correct?                         14
                                                          in the valsartan manufactured by ZHP?
   15     A. Based upon this table, it was             15
                                                              A. I told you yesterday
   16 not listed in there.                             16
                                                          retrospectively that we knew it was, you
   17     Q. And -- rephrase. And please --            17
                                                          know, it was, you know, discovered by the
   18 well, rephrase.                                  18
                                                          original innovator, you know, Novartis.
   19           And I think you've told us             19
                                                                    MR. SLATER: Let's scroll
   20 already that by this time ZHP knew that there    20
                                                              through, slowly through the end of the
   21 was impurity K in the valsartan? Do I            21
                                                              list of impurities, please.
   22 understand that correctly?                       22
                                                              Q. And please look at this because
   23     A. I have not saying, you know,              23
                                                          I'm going to ask you at the end --
   24 specifically like by 2013, you know, we knew,    24
                                                                    MR. SLATER: Stop for one


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                                             Page 492                                           Page 494
   1                                                     1
           second, Cheryll.                                   the English translation into the --
   2                                                     2
           Q. Tell me if you see any                          the link or whatever it is, Cheryll,
    3                                                    3
      nitrosamines listed as potential impurities.            if you could do that as well, please.
    4                                                    4
                MR. SLATER: And you can                            And then once it's there you
    5                                                    5
           continue scrolling.                                all can let me know and I'll continue.
    6                                                    6
           Q. You would agree with me that no                      MS. CALDERON: Can I take --
    7                                                    7
      nitrosamines were listed as potential                   can we take just a minute off the
    8                                                    8
      impurities for the zinc chloride process                record? I just want to locate the
    9                                                    9
      valsartan, correct?                                     English translation.
   10                                                   10
           A. Yes, in this file, yes.                              MR. SLATER: Sure.
   11                                                   11
                MR. SLATER: Let's go, if we                        THE VIDEOGRAPHER: Off the
   12                                                   12
           could, Cheryll, to page 364.                       record, or timer?
   13                                                   13
           Q. Okay. Now we have -- rephrase.                       MR. BALL: No, it's fine, we
   14                                                   14
                Looking at page 364, there's a                can go off the record.
   15                                                   15
      listing that says, "All the potential organic                THE VIDEOGRAPHER: Time right
   16                                                   16
      impurities are demonstrated in valsartan                now is 11:54 a.m. We're now off the
   17                                                   17
      listed as follows." And you can see there's             record.
   18                                                   18
      no impurity K and there's no nitrosamines,                   (Pause.)
   19                                                   19
      correct?                                                     (Whereupon, Exhibit Number
   20                                                   20
           A. Yeah, looks like.                               ZHP-313 was marked for
   21                                                   21
                MR. SLATER: Cheryll, please                   identification.)
   22                                                   22
           scroll down now to the bottom part of                   THE VIDEOGRAPHER: The time
   23                                                   23
           this page.                                         right now is 11:57 a.m. We're back on
   24                                                   24
           Q. Okay. Looking now at the text                   the record.
                                             Page 493                                           Page 495
   1  underneath that table, it says, "Regarding         1           MR. SLATER: Great. Thank you.
   2  the impurity D-J and hydrolysis product,           2           You know, Cheryll, scroll down
    3 there is not any high potency genotoxic            3     a little bit just so we can see the
    4 group, such as, aflatoxin-like-, N-nitroso-,       4     whole bottom e-mail. Perfect. A
    5 and azoxy-compound has been included in these      5     little more actually. See if you can
    6 impurities."                                       6     get -- no, too much. There you go.
    7           I want to stop there.                    7 BY MR. SLATER:
    8           We know certainly in retrospect          8     Q. Looking at Exhibit 313, it's an
    9 that, in fact, there was NDMA in the               9 e-mail exchange in June 2018, June 16th.
   10 valsartan, correct?                               10           Do you see that?
   11      A. Yes, retrospective.                       11     A. Yeah, mm-hmm.
   12      Q. So this DMF was inaccurate when           12     Q. It looks like someone named
   13 it said there were no N-nitroso compounds,        13 Minfa Wang wrote to you on June 16, 2018.
   14 correct?                                          14           Who is Minfa Wang?
   15      A. It was based upon the knowledge           15     A. She is the analytical head at
   16 at the time.                                      16 Prinston Pharmaceuticals, which is a
   17      Q. It was incorrect at the time,             17 subsidiary of Huahai.
   18 correct?                                          18     Q. And she wrote to you and said,
   19      A. As I said, retrospectively it             19 "Attached paper is from web below." And then
   20 turned out to be not accurate.                    20 she quotes a link, and says, "It looks the
   21           MR. SLATER: I think we can              21 potent is different between" -- and I assume
   22      take that down. And the next document        22 that means potency -- "is different between
   23      that we're going to go to is                 23 nitrosamines and nitramines. Nitramine is
   24      ZHP01567728. And I think you can put         24 less potent than that nitrosamine. Have been




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   1                                                    1
      confirmed as nitrosamine?"                       mutagen and carcinogen." And it cites an
   2                                                 2
               That's what she asked you,              NIPH report from 2009, which would be the
    3                                                3
      correct?                                         same organization, Norwegian Institute of
    4                                                4
          A. Yes.                                      Public Health.
    5                                                5
          Q. And you then -- let's scroll up                    It then says, "Due to their
    6                                                6
      now to your response.                            potent carcinogenicity, other health outcomes
    7                                                7
               And you confirmed -- "It is             of these compounds have been given less
    8                                                8
      confirmed the impurity is NDMA," correct?        emphasis and are therefore less well
    9                                                9
          A. Yes.                                      documented."
   10                                               10
               MR. SLATER: Can we -- as                         So that would have been some
   11                                               11
          Exhibit 314, let's put up the next           information that would have been available to
   12
          document, which was the document that 12 you when Minfa Wang wrote to you in
   13                                               13
          that link will take you to.                  June 2018?
   14                                               14
               THE WITNESS: Right.                         A. Yeah.
   15                                               15
               (Whereupon, Exhibit Number                       MR. SLATER: Let me just check
   16                                               16
          ZHP-314 was marked for                           something.
   17                                               17
          identification.)                                      Okay. We're done with that
   18                                               18
      BY MR. SLATER:                                       document.
   19                                               19
          Q. It's titled "Health effects of                     At this point I'm going to wrap
   20                                               20
      amines and derivatives associated with CO2           up for  the night.
   21                                               21
      capture: Nitrosamines and nitramines."                    MR. BALL: Okay. Adam, we've
   22                                               22
               And it looks like it was an                 gone  like four hours tonight. I
   23                                               23
      analysis or study that was carried out by the        just -- I want to make sure you
   24                                               24
      Norwegian Institute of Public Health,                understand we're not going to add time
                                            Page 497                                         Page 499
   1  correct?                                          1   on to the last day.
   2       A. I don't remember, you know, you           2        MR. SLATER: You know what, I
    3 know, at the time, you know, when I probably      3   don't want to argue with you, but it's
    4 clicked the link, and so I don't remember         4   fine.
    5 exactly who published it. But if you say,         5        THE VIDEOGRAPHER: Do you want
    6 you know, that's Norwegian -- oh yeah.            6   that off the record?
    7 Here's the Norwegian. Yeah, I saw that.           7        MR. BALL: Yeah, yeah.
    8 Okay, yeah.                                       8        MR. SLATER: It's fine if it's
    9           MR. SLATER: Let's go now to             9   on the record or off the record.
   10      the next page, please, to Section 2,        10        THE VIDEOGRAPHER: The time
   11      paragraph 2. Perfect.                       11   right now is 12:02 p.m. We're now off
   12      Q. Looking now at paragraph 2,              12   the record.
   13 titled "Evaluation of cancer risk from           13        (Whereupon, the deposition was
   14 exposure to nitrosamines."                       14   adjourned.)
   15           Do you see that?                       15
   16      A. Oh, yeah, mm-hmm.                        16
   17      Q. And this says, "Nitrosamines             17
   18 represent a large and diverse family of          18
   19 synthetic and naturally occurring compounds.     19
   20 Approximately 90 percent of the 300              20
   21 nitrosamines tested have shown carcinogenic      21
   22 effects in bioassays and laboratory animals.     22
   23 Among these, NDMA has been most thoroughly       23
   24 studied. NDMA has been shown to be a potent      24




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    1
    2
                 CERTIFICATE                      1         ------
    3
                    I, MAUREEN O'CONNOR                     ERRATA
          POLLARD, Registered Diplomate           2         ------
    4
          Reporter, Realtime Systems
          Administrator, and Certified Shorthand  3 PAGE LINE CHANGE
    5
          Reporter, do hereby certify that prior
          to the commencement of the              4 ____ ____ _________________________________

    6
          examination, MIN LI, PhD, was remotely 5 REASON: __________________________________
          duly identified and sworn by me to
    7
          testify to the truth, the whole truth,  6 ___ ____ __________________________________
          and nothing but the truth.
    8
                    I DO FURTHER CERTIFY that 7 REASON: __________________________________
    9
          the foregoing is a verbatim transcript  8 ____ ____ _________________________________
          of the testimony as taken
   10
          stenographically by and before me at    9   REASON: __________________________________
          the time, place, and on the date       10 ____ ____ _________________________________
   11
          hereinbefore set forth, to the best of
   12
          my ability.                            11   REASON: __________________________________
                    I DO FURTHER CERTIFY that 12
          I am neither a relative nor employee      ____ ____ _________________________________
   13
          nor attorney nor counsel of any of the 13   REASON: __________________________________
   14
          parties to this action, and that I am
          neither a relative nor employee of     14 ____ ____ _________________________________
   15
          such attorney or counsel, and that I   15   REASON: _________________________________
          am not financially interested in the
   16
          action.                                16 ____ ____ _________________________________
   17                                                    17     REASON: _________________________________
   18
          ___________________________                    18   ____ ____ _________________________________
   19
          MAUREEN O'CONNOR POLLARD                       19     REASON: _________________________________
          NCRA Registered Diplomate Reporter             20   ____ ____ _________________________________
   20
          Realtime Systems Administrator
          Certified Shorthand Reporter                   21     REASON: _________________________________
   21
          Notary Public                                  22   ____ ____ _________________________________
   22
          Dated: April 23, 2021                          23
   23                                                    24
   24

                                              Page 501                                              Page 503
    1                                                     1
             INSTRUCTIONS TO WITNESS                      2         ACKNOWLEDGMENT OF DEPONENT
    2                                                     3
    3                                                     4I, __________________________, do
              Please read your deposition over
    4                                                  Hereby
      carefully and make any necessary corrections. 5 pages, andcertify that I have read the foregoing
    5
                                                                   that the same is a correct
      You should state the reason in the               transcription of the answers given by me to
    6                                                6 the questions therein propounded, except for
      appropriate space on the errata sheet for any
    7                                                  the corrections or changes in form or
      corrections that are made.                     7 substance, if any, noted in the attached
    8
              After doing so, please sign the          Errata Sheet.
    9                                                8
      errata sheet and date it. It will be           9
   10
      attached to your deposition.                     _________________________________
   11                                               10 Min Li, Ph.D.
              It is imperative that you return                                    Date
   12                                               11
      the original errata sheet to the deposing     12
   13
      attorney within thirty (30) days of receipt   13
   14                                               14
      of the deposition transcript by you. If you   15
   15
      fail to do so, the deposition transcript may  16
   16
      be deemed to be accurate and may be used in      Subscribed and sworn
   17                                               17 To before me this
      court.
   18                                                         ______ day of _________________, 20____.
                                                         18
   19
                                                              My commission expires: ________________
   20                                                    19
                                                         20   _______________________________________
   21
                                                              Notary Public
   22                                                    21
   23                                                    22
                                                         23
   24                                                    24




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